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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

  IN RE:                                                §            CHAPTER 11
                                                        §
  GABRIEL INVESTMENT GROUP, INC., ET AL.,               §            BANKRUPTCY NO. 19-52298-RBK
                                                        §
  DEBTORS                                               §            JOINTLY ADMINISTERED


         DEBTORS’ MOTION TO APPROVE (A) SALE PROCEDURES AND BID PROTECTIONS IN
      CONNECTION WITH THE SALE OF THE DEBTORS’ ASSETS; (B) THE FORM OF NOTICE FOR THE
          SALE OF THE DEBTORS’ ASSETS AND (C) THE FORM OF NOTICE RELATED TO THE
        ASSUMPTION AND ASSIGNMENT OF UNEXPIRED LEASES AND EXECUTORY CONTRACTS


  TO THE HONORABLE JUDGE RONALD B. KING, UNITED STATES BANKRUPTCY JUDGE:

             Gabriel Investment Group Inc. et al. (“Debtors” or “Gabriel’s”),1 Debtors in the above captioned

  cases (the “Cases”), by and through their counsel Pulman, Cappuccio & Pullen, LLP, hereby files

  this Debtors’ Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the

  Sale of the Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C)

  the Form of Notice Related to the Assumption and Assignment of Unexpired Leases and

  Executory Contracts (the “Sale Procedure Motion”). In support of the Sale Procedure Motion,

  Debtors respectfully represent as follows:

                                   I.      JURISDICTION AND VENUE
             1.     This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

  and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before

  this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




  1
   The terms “Debtors” and “Gabriel’s” as used herein shall mean Gabriel Investment Group, Inc. (“GIG”), Gabriel
  GP, Inc. (“GP”), Gabriel Holdings, LLC (“Gabriel Holdings”), Don’s & Ben’s, Inc. (“D&B”), and S.A. Discount
  Liquor, Inc. (“Discount Liquor”) collectively.


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             2.   On September 27, 2019 (the “Petition Date”), Debtors filed voluntary petitions

  for relief under Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as

  amended, the “Bankruptcy Code”).

             3.   Debtors continue to manage and operate their businesses pursuant to §§ 1107 and

  1108 of the Bankruptcy Code.           The Official Committee of Unsecure Creditors (the

  “Committee”) was appointed on November 21, 2019.              No trustee or examiner has been

  requested or appointed.

             4.   The statutory predicates for the relief requested herein are sections 105(a), 363,

  and 365 of the Bankruptcy Code and Rules 6004 and 6006 of the Federal Rules of Bankruptcy

  Procedure.

             5.   Attached as Exhibit A is the proposed order on the Motion.

                                II.    FACTUAL BACKGROUND

             6.   Gabriel’s has been a San Antonio institution since 1948. The Gabriel family has

  managed a chain of South Texas package stores that over the course of two or three generations

  grew to become a well-known community mainstay, one that today employs approximately 250

  individuals across the region. Throughout its history Gabriel’s has supplied the citizens of San

  Antonio with fine wines, high-quality liquors, and exceptional beers at reasonable prices. It has

  also been a bastion of the San Antonio community through its involvement in various events all

  over the city, including Fiesta, as well as its involvement with various non-profits raising money

  to support the region’s less fortunate. Today, Gabriel’s operates 15 package-store locations as

  Gabriel’s Liquor and 30 package-store locations as Don’s & Ben’s Liquor.

             7.   While competition is a challenge for any business, beginning in 2013 Gabriel’s

  began facing increased competition from the influx of big-box retailers. These changes in the




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  San Antonio market gradually caused several of Gabriel’s locations to become unprofitable.

  Additionally, Gabriel’s wholesale business started to suffer losses due to the increased

  competition. The Gabriel family did its best to manage the operations to address this economic

  turmoil; however, the losses continued to mount.

             8.    In 2019, the Gabriel family considered merging Gabriel’s with a Texas retailer

  that had the financial resources to weather the tougher competition in San Antonio.

  Unfortunately, even though the discussions proceeded to the point of setting a closing date, the

  merger ultimately fell through. During that same time, Gabriel’s failed to timely pay its vendors,

  which led to Gabriel’s being placed on the Texas Alcoholic Beverage Commission (“TABC”)

  Delinquent List. Pursuant to TABC regulations, placement on the TABC Delinquent List

  prohibits all liquor wholesalers from selling to Gabriel’s.

             9.    Gabriel’s line of credit with its lender PNC Bank, National Association expired

  on September 30, 2019.

             10.   Since the Petition Date, Debtors have undertaken efforts to maximize the value of

  the assets of the bankruptcy estates (collectively, the “Estates”) by reducing the cost of

  operations and liquidating assets as certain locations.       Debtors have also retained National

  Transaction Advisors, Inc., a Riverbend Company (“Riverbend”), as investment banker to assist

  in obtaining proposals for (a) the refinancing of the Debtors’ debt obligations or (b) the sale of

  the Debtors’ ongoing business operations.

             11.   Through Riverbend’s efforts, the Debtors have received a Letter of Intent from

  Nooner Holding, Ltd. (“NH” or the “Stalking Horse Bidder”) offering a purchase price of $7

  million (the “Purchase Price”), subject to certain conditions, for the purchase of all assets,

  rights, entitlement, and privileges of the Debtors, including possibly (a) 32 locations and (b)(i)




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  the assumption and assignment to NH of all leasehold rights in all locations or used in the

  Debtors’ business operations, (ii) the assumption and assignment of all personal-property leases

  used in the Debtors’ business operations and designated by NH in its sole and absolute

  discretion, (iii) the conveyance free and clear of all liens, claims, encumbrances, and interests of

  all inventory, furniture, fixture, equipment located at or used in the operation for each of the 32

  locations, and (iv) conveyance of all intellectual property related to the operation of the Debtors’

  businesses, including, without limitation, all patents, permits, licenses, exemptions (including

  any pre-1949 or pre-1995 permits), trademarks, designs, social-media assets, e-commerce assets,

  URLs, customer lists, and data associated with the stores to NH free and clear of all liens, claims,

  encumbrances, and interests (collectively, items (i)-(iv) are the “Property”) and (c) the

  acquisition of all stock in the Debtors. The Purchase Price contemplates, among other things, a

  sale of inventory, which the Debtors currently value at $5 million; however, the inventory price

  is subject to certain additions or reductions based on the actual cost of inventory on hand at the

  time of Closing. The Debtors propose to effectuate the transactions with NH (the “Proposed

  Transactions”) through a Chapter 11 Plan (the “Plan”) and related Sale and Purchase

  Agreement, a draft of which is attached as Exhibit B (the “Asset Purchase Agreement”),

  subject to higher or better offers.

                                    III.   REQUESTED RELIEF

             12.   By this Sale Procedure Motion, Debtors request approval (a) NH as the Stalking

  Horse Bidder (defined below), (b) the Stalking Horse Bid (defined below) and (c) the

  procedures to govern the bidding, auction and sale process for the Proposed Transactions.

  Debtors believe that the procedures proposed herein will maximize the value of the Property.




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             13.   For this purpose, Debtors request that the Court enter an order approving

  (a) the form and manner of notice of the Sale Procedures substantially in the form attached as

  Exhibit C (the “Sale Notice”); (b) the bidding, auction and sale procedures, substantially in the

  form attached as Exhibit D (the “Sale Procedures”); (c) the form and manner of notice of the

  Cure Claim Procedures substantially in the form attached as Exhibit E (the “Cure Claim

  Notice”); (d) the bidding protections afforded to any stalking-horse bidder that meets the

  requirements set forth in this Motion, including the proposed break-up fee and payment thereof;

  and (e) set a date and time to conduct the auction at the Sale Hearing.

  A.         Sale Notice
             14.   Bankruptcy Rule 2002(a) provides, in relevant part, that all creditors must be

  given at least 21 days’ notice by mail of a proposed use, sale or lease of property of the estate

  other than in the ordinary course of business. Further, Bankruptcy Rule 2002(c) sets forth that

  such notices must include the time and place of any sale, the terms and conditions of such sale,

  and the time fixed for filing objections.

             15.   The Sale Notice (a) contains the type of information required under Bankruptcy

  Rule 2002, (b) includes information concerning the Sale Procedures, and (c) is reasonably

  calculated to provide due, adequate and timely notice to all interested parties of (i) the auction of

  the Property, (ii) the sale Procedures, (iii) the deadline to object to the Sale, and (iv) the Sale

  Hearing. Accordingly, Debtors request that this Court approve the form and content of the Sale

  Notice.

             16.   Within three business days after the Court enters an Order approving this Motion,

  Debtors shall serve the Sale Notice by (a) first-class United States mail, postage-prepaid on

  (i) the parties identified on the Creditor Matrix in these Cases at the addresses set forth therein,

  (ii) the parties that have filed proofs of claim in these Cases at the addresses set forth in the


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  respective proofs of claim, and (iii) any other parties who have expressed an interest in acquiring

  the Property; and (b) the Court’s electronic-filing system on those parties receiving electronic

  notice by such system. Service of such Sale Notice is proper, due, timely, good, and sufficient

  notice of, among other things, the Sale Procedures, the auction, the proposed Sale, and the

  procedure for objecting thereto. Additionally, Debtors may provide publication notice if

  (a)requested by NH or (b) the Debtors believe that such additional notice would improve the

  results of the auction and is in the best interests of the Estates.

  B.         Sale Procedures
             17.   Pursuant to Bankruptcy Rule 6004(f)(1), sales of property outside the ordinary

  course of business may be by private or public sale. Debtors believe that good cause exists to

  expose the Property to a public sale. A public sale conducted substantially in accordance with

  the Sale Procedures will enable the Debtors to obtain the highest or best offer for the Property,

  thereby maximizing its value for the benefit of the Estates. The Sale Procedures provide for an

  expeditious manner to obtain the highest or best offers for the Property. The Sales Procedures

  provide for establishing NH as a “stalking-horse bidder” and for receipt of “qualified bids” by

  “qualified bidders.” Therefore, Debtors respectfully request that this Court approve the Sale

  Procedures.

             18.   Any party wishing to participate as a qualified bidder should provide an executed

  Asset Purchase Agreement substantially in the same form as Exhibit B to Thomas Rice, Pulman,

  Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio, Texas 78213;

  Fax No. (210) 892-1610; email trice@pulmanlaw.com and deposit One Hundred Thousand and

  no/100 Dollars ($100,000.00) (the “Earnest Money Deposit”) with the designated escrow agent

  by no later than April 15, 2020 (the “Bid Deadline”). Any such Bid submitted by the Bid

  Deadline shall be in the amount of at least Seven Million Five Hundred Thousand and no/100


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  Dollars ($7,500,000.00) to be a Qualified Bid and to allow the Bidder to participate in the

  auction of the Property (“Qualified Bidder”). The deposited funds will be held by the escrow

  agent until after the closing of the sale. The Earnest Money Deposit of all Qualified Bidders

  (except for the Successful Bidder) will be returned, without interest, to each Qualified Bidder as

  soon as reasonably practicable but in no event later than seven (7) business days after the closing

  of the Sale.

             19.   The definition of Property in the NH proposal includes acquisition of the equity

  interests in Gabriel Investment Group, Inc., a publicly held corporation (the “PubCo”) that is

  authorized to own liquor-store permits under Section 22.16(f) of the Texas Alcoholic Beverage

  Code. Debtors will also consider offers seeking to purchase either the PubCo separately or

  purchase the liquor store assets without acquiring the equity interests in PubCo.

             20.   On April 16, 2020, Debtors will file a Notice of Auction to inform creditors,

  parties-in-interest and the Court whether there are any other Qualified Bidders, such that the

  auction will be conducted on April 20, 2020.

             21.   In addition, Debtors request that the Court set an overbid procedure, so that

  Debtors can maximize the sale price of the Property. Debtors propose an overbid procedure

  requiring that any competing bid with respect to the Property must submit an overbid of at least

  $100,000.00 above the previous highest or best offer.

             22.   In the event Debtors receive one or more timely and conforming Qualified Bids

  by the Bid Deadline, the Debtors shall conduct an auction for the sale of the Property at the

  offices of Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San

  Antonio, Texas 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time and all

  Qualified Bidders may participate in such Auction.




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             23.   Following conclusion of the Auction, Debtors shall request that the Court

  approve the highest and best standing Bid received at the Auction as the winning bid (the

  “Successful Bid”) at a hearing to be held at Hipolito F. Garcia Federal Building and United State

  Courthouse, Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on

  Thursday April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

             24.   The closing of the sale of the Property shall occur no later than April 30, 2020;

  provided, however, that this requirement may be waived by agreement between Debtors, PNC,

  the Committee, and the Successful Bidder.

             25.   If any Successful Bidder fails to consummate a Sale because of a breach or failure

  to perform on the part of such Successful Bidder, the Qualified Bidder that had submitted the

  next highest or otherwise best Qualified Bid at the Auction (if any), as determined by the

  Debtors, PNC, and the Committee (the “Back-Up Bidder(s)”) will be deemed to be the

  Successful Bidder for the Property and Debtors will be authorized to consummate the Sale of the

  Property to such Back-Up Bidder without further order of the Bankruptcy Court and such

  Qualified Bid shall thereupon be deemed the Successful Bid. If any Qualified Bidder fails to

  consummate a Sale because of a breach or failure to perform on the part of such Qualified Bidder

  or for any reason within ten days after being deemed the Back-Up Bidder pursuant to this section

  of the Sale Procedures, the process described above may continue as determined by Debtors until

  a Qualified Bidder shall consummate the Sale.

             26.   If any Successful Bidder fails to consummate the purchase of the Property, and

  such failure to consummate the purchase is the result of a breach by such Successful Bidder, the

  Earnest Money Deposit of such Successful Bidder shall be forfeited to the Estates.




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             27.   Any objection(s) filed to the sale of the Property, other than objections related to

  the assumption and assignment of executory contracts (which shall be submitted in accordance

  with the Sale Procedures Order)         (i) shall be set forth in writing and shall specify with

  particularity the grounds for such objections or other statements of position; (ii) shall be filed

  with the Court on or before on or before April 17, 2020 (the “Objection Deadline”). Any

  person failing to timely file an objection to the Sale prior to the Objection Deadline shall be

  forever barred from objecting to the Sale, including the transferring of the Property free and clear

  of any and all liens, claims and other interests, and will be deemed to consent to the Sale.

             28.   Debtors, with the written consent of PNC and the Committee, reserve the right to

  (a) determine whether any Qualified Bid is a Successful Bid and (b) reject, at any time prior to

  the entry of the Sale Order by the Bankruptcy Court, without liability, any Bid that Debtors, with

  the written consent of PNC and the Committee, determine to be (i) inadequate or insufficient, (ii)

  not in conformity with the Sale Procedures or the Bankruptcy Code, or (iii) contrary to the best

  interests of the Estates.

             29.   Debtors, with the written consent of PNC and the Committee, may modify the

  Sale Procedures, without the need for any further order of the Bankruptcy Court, including,

  without limitation (a) extending the deadlines set forth in these Sale Procedures, and

  (b) adjourning the Sale Hearing.

  C.         Stalking Horse Bid

             30.   Debtors request that the Court declare that NH is a stalking-horse bidder (the

  “Stalking Horse Bidder”) and its bid as the “stalking horse bid” (the “Stalking Horse Bid”)

  entitled to stalking-horse bid protections, including: (a) a $300,000 “break-up fee” (“Break Up

  Fee”); (b) a $75,000 “expense reimbursement” (the “Expense Reimbursement”); (c) an initial




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 overbid (the “Initial Overbid”) equal to the sum of (w) the Purchase Price, (x) the Break Up

 Fee, (y) Expense Reimbursement, and (z) $125,000; and (d) subsequent overbids (“Subsequent

 Overbids”) equal to $100,000. The Break Up Fee and the Expense Reimbursement shall both

 be entitled to administrative-expense priority (§§ 503(b)(1)(A) and 507(a)), senior to all

 administrative expenses (other than super-priority administrative claims of PNC for failed

 adequate protection) and payable to NH if the Proposed Transactions are not consummated with

 NH; provided, however, that (i) the Stalking Horse Bidder shall not be entitled to payment of the

 Breakup Fee or Expense Reimbursement if the Stalking Horse Bidder’s Asset Purchase

 Agreement is terminated by the Debtors as a result of a breach by the Stalking Horse Bidder and

 (ii) the Break Up Fee and Expense Reimbursement may only be paid to the Stalking Horse

 Bidder with proceeds received following the closing of an alternate sale transaction. If there is a

 credit bid (the “Credit Bid”) for the Property, then the Credit Bid shall have a cash component

 equal to the sum of the Break Up Fee and the Expense Reimbursement. NH shall be allowed to

 credit bid the Break Up Fee and Expense Reimbursement in any subsequent bids. The Break-Up

 Fee would be an actual and necessary cost of preserving the Estates and would, in Debtors’ view,

 be commensurate to the real and substantial benefit conferred on the Estates by the Stalking

 Horse Bidder. Such Break-Up Fee is also reasonable and appropriate in light of, among other

 things (a) a Break Up Fee is regularly approved by Courts in the Western District of Texas; (b)

 the Break Up Fee will only be paid if Debtors receive an overbid of at least Seven Million Five

 Hundred Thousand and no/100 Dollars ($7,500,000.00), which would still provide additional

 funds to the Estates after paying the Break-Up Fee; and (c) the likely benefits the Stalking Horse

 Bid will provide to the Estates, their creditors, and other parties in interest.




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            31.   The payment of a break-up fee is normal and customary in transactions of this

 nature. Break-up fees are a vital means by which an estate can manage value maximization risk

 by setting a value floor for assets to be conveyed, which is a key benefit to the Estates and

 weighs heavily in favor of approving the Break Up Fee. A break-up fee is an important tool to be

 used to encourage bidding. Court approval of the Break Up Fee to NH, is necessary, reasonable,

 and in the best interests of the Debtors, their Estates and creditors. Historically, bankruptcy

 courts have approved bidding incentives similar to the stalking-horse bid solely by reference to

 the “business judgment rule,” which proscribes judicial second-guessing of the actions of a

 debtor taken in good faith and in the exercise of honest judgment. See, e.g., In re 995 Fifth Ave.

 Assocs., L.P., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1992) (holding that bidding incentives may “be

 legitimately necessary to convince a white knight to enter the bidding by providing some form of

 compensation for the risks it is undertaking”) (citation omitted); In re Texas Rangers Baseball

 Partners, 431 B.R. 706, 715 (Bankr. N.D. Tex. 2010)(breakup fee was appropriate for

 undertaking a sale transaction).

            32.   The Break Up Fee is undoubtedly consistent with the “business judgment rule.”

 The Stalking Horse Bidder likely would not have agreed to its proposed bid without this

 bargained-for protection. The proposed stalking-horse bid protections are reasonable and

 consistent with the range of bidding protection typically approved by bankruptcy courts in this

 District. See, e.g., In re IO at Tech Ridge LP, Case No. 17-11540-tmd.

 D.         Assumption and Assignment Procedures for Executory Contracts and Unexpired
            Leases

            33.   To facilitate the Proposed Transactions, the Debtors propose the following

 procedures for notifying counterparties to executory contracts and unexpired leases of potential

 cure amounts if the Debtors decide to assume and assign such contracts or leases:



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          i.    Notice of Assumption and Assignment: On March 18, 2020, Debtors shall file with
                the Court and serve via first-class mail on all counterparties to any of the Debtors’
                executory contracts and unexpired leases (together, the “365 Contracts”) and all
                parties who have requested notice in these Cases pursuant to Bankruptcy Rule 2002
                (collectively, the “Contract Notice Parties”) a notice of proposed assumption,
                assignment and sale.

         ii.    The Notice of Assumption and Assignment shall include the Debtors’ proposed
                calculation of the amount necessary to cure all monetary defaults (the “Cure Costs”)
                for each 365 Contract. The Debtors reserve the right to supplement the list of 365
                Contracts and provide additional Notices of Assumption and Assignment for
                previously omitted 365 Contracts as appropriate, and to remove a 365 Contract from
                the list at any time prior to the conclusion of the Sale Hearing.

       iii.     Although the Debtors have made a good-faith effort to identify all 365 Contracts that
                may be assumed and assigned with the Proposed Transactions, they may discover
                additional 365 Contracts that a bidder may want the Debtors to assume and assign in a
                proposed transaction. Accordingly, if at any time after the entry of the Sale Order, the
                Debtors identify additional prepetition executory contracts that may be subject to
                being assumed and assigned to the Successful Bidder, the Debtors shall serve a
                supplemental notice of assumption and assignment (a “Supplemental Notice of
                Assumption and Assignment Notice”) by facsimile, electronic transmission, hand
                delivery or overnight mail on the counterparty (and its attorney, if known) to each
                supplemental 365 Contract at the last-known address available to the Debtors by no
                later than ten (10) days before the proposed effective date of the assumption and
                assignment. Each Supplemental Notice of Assumption and Assignment shall set forth
                (a) the name and address of the 365 Contract counterparty, (b) notice of the proposed
                effective date of the assignment (subject to the right of Successful Bidder(s) to
                withdraw such request for assumption and assignment of the 365 Contract prior to the
                Closing), (c) identification of the 365 Contract, (d) the Cure Costs, if any, to the
                extent such 365 Contract has been designated for assumption and assignment by a
                Successful Bidder, and (e) the proposed adequate assurance, as applicable.

        iv.     Each Supplemental Notice of Assumption and Assignment that identifies a 365
                Contract that was not previously identified as one that may be assumed, assigned, and
                sold or that reduces the calculation of the Cure Costs (if the obligation to provide such
                information has occurred) shall provide a deadline of not less than seven (7) days
                from the date of service of such Notice of Assumption and Assignment by which the
                counterparty to any such added 365 Contract may object to (a) its listing as a 365
                Contract and (b) the calculation of the Cure Costs for such 365 Contract. The
                inclusion of a 365 Contract on the Notice of Assumption and Assignment shall not
                obligate any bidder to take assignment of such 365 Contract. Only those 365
                Contracts that are accepted by a bidder, I that bidder’s sole and absolute discretion
                will be assumed, assigned and sold to the bidder.




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         v.         Within one (1) business day after the conclusion of the Auction, the Debtors will file
                    the Successful Bidder’s proposed form of adequate assurance of future performance
                    with the Bankruptcy Court. Objections to the successful bidder’s adequate assurance
                    of future performance must be raised no later than April 22, 2020.

        vi.         Objections to Assumption and Assignment: Any counterparty to a 365 Contract
                    shall file any objections to (a) the proposed assumption, assignment and sale of the
                    365 Contracts (and must state in its objection, with specificity, the legal and factual
                    basis thereof) and (b) if applicable, the proposed Cure Costs (and must state in its
                    objection, with specificity, what Cure Costs are required with appropriate
                    documentation in support thereof) no later than twenty-one (21) days from the date of
                    the Notice of Assumption and Assignment (the “Assumption and Assignment
                    Objection Deadline”).

       vii.         If a counterparty to a 365 Contract files a timely objection asserting a higher cure than
                    the maximum Cure Costs set forth in the Notice of Assignment and Assumption, and
                    the parties are unable to consensually resolve the dispute prior to the Sale Hearing, the
                    amount to be paid or reserved with respect to such objection will be determined at the
                    Sale Hearing. All other objections to the proposed assumption and assignment of the
                    Debtors’ right, title, and interest in, to and under the 365 Contracts, if it is ultimately
                    designated a 365 Contract by a Qualified Bidder to be assumed, assigned, and sold to
                    it in connection with the Proposed Transaction (a “Desired 365 Contract”), will also
                    be heard at the Sale Hearing.

      viii.         If no objection is timely filed and served, the counterparty to a 365 Contract shall be
                    deemed to have consented to the assumption, assignment, and sale of the 365 Contract
                    to any Successful Bidder if such 365 Contract is designated by any Successful Bidder
                    as a Desired 365 Contract and shall be forever barred from asserting any objection
                    with regard to such assumption, assignment, and sale, except with respect to the
                    adequate assurance of future performance by any Successful Bidder. Any objections
                    to any Successful Bidder’s proposed form of adequate assurance of future
                    performance must be raised at the Sale Hearing and will be resolved at Sale Hearing.
                    The Cure Costs provided to the contract counterparty shall be controlling,
                    notwithstanding anything to the contrary in any 365 Contract, applicable law, or any
                    other document, and the counterparty to the 365 Contract shall be deemed to have
                    consented to the Cure Costs and shall be forever barred from asserting any other
                    claims related to such 365 Contract against the Debtors or any bidder, or the property
                    of any of them.

 E.           Relief from Bankruptcy Rules 6004(h) and 6006(d) is Appropriate

              34.       Under Bankruptcy Rule 6004(h), unless the court orders otherwise, all orders

 authorizing the sale of property pursuant to section 363 of the Bankruptcy Code are

 automatically stayed for fourteen days after entry of the order. Fed. R. Bankr. P. 6004(h). The



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 purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for an objecting party to appeal

 before the order is implemented. See Advisory Committee Notes to Fed. R. Bankr. P. 6004(h).

 Similarly, Bankruptcy Rule 6006(d) stays all orders authorizing a debtor to assign an executory

 contract or unexpired lease pursuant to section 365(f) of the Bankruptcy Code for fourteen days,

 unless the court orders otherwise.

            35.   To preserve the value of the Estates and limit the costs of administering and

 preserving the Property, it is critical that the Debtors close the sale of the Property as soon as

 possible after all closing conditions have been met or waived. Accordingly, the Debtors hereby

 request that the Court waive the fourteen-day stay periods under Bankruptcy Rules 6004(h) and

 6006(d).


                                         IV.    PRAYER

            WHEREFORE, Debtors respectfully request that the Court enter an Order approving

 (a) the bidding, auction and sale procedures; (b) the form and manner of the Sale Notice; (c) the

 procedures associated with the assumption and assignment of executory contracts and unexpired

 leases; (d) the form and manner of notice of the Cure Claim Procedures; (e) the bidding

 protections afforded to the Stalking Horse Bidder; (f) a date and time to conduct the auction at

 the Sale Hearing; and (g) such other relief, both at law and in equity to which Debtors may

 be justly entitled.




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                                         Respectfully submitted,

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                                         2161 NW Military Highway, Suite 400
                                         San Antonio, Texas 78213
                                         www.pulmanlaw.com
                                         (210) 222-9494 Telephone
                                         (210) 892-1610 Facsimile

                                         By: /s/ Thomas Rice
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                                             Thomas Rice
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                                        ATTORNEYS     FOR   DEBTOR   AND    DEBTOR-IN-
                                        POSSESSION




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                                   CERTIFICATE OF SERVICE

            I hereby certify that I caused the foregoing document to be filed on March 10, 2020,
 using the Court’s CM/ECF System which caused it to be served upon those parties registered in
 the system as indicated below.
 Via CM/ECF:                                            Via CM/ECF: csmall@dslawpc.com,
 USTPRegion07.SN.ECF@usdoj.gov                          drios@dslawpc.com
 United States Trustee                                  Caroline Newman Small /Sarah Santos
 615 E. Houston, Room 533                               Davis & Santos, P.C.
 San Antonio, TX 78205                                  719 S. Flores Street
                                                        San Antonio, Texas 78204
 Via CM/ECF: brian.smith@hklaw.com,
 brent.mcilwain@hklaw.com;                              Via CM/ECF: mshriro@singerlevick.com
 robert.jones@hklaw.com;                                Michelle Shriro
 Brent R. McIlwain/Brian J. Smith                       Singer & Levick
 Holland & Knight                                       16200 Addison Rd. #140
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 Jackson Walker, LLP                                    sfoushee@langleybanack.com
 112 E. Pecan St., Suite 2400                           David S. Gragg
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 Branscomb Law
 8023 Vantage, # 560                                    Via CM/ECF: treywhite@villawhite.com,
 San Antonio, TX 78230                                  ecfnotices@villawhite.com;
                                                        bankruptcysa@gmail.com
 Via CM/ECF: don.stecker@lgbs.com                       Morris E. "Trey" White
 Don Stecker                                            Villa & White, LLP
 Linebarger Goggan et al                                1100 NW Loop 410 #802
 711 Navarro, Suite 300                                 San Antonio, Texas 78213
 San Antonio, TX 78205




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                                                  /s/Thomas Rice
                                                  Thomas Rice




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                         EXHIBIT A
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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 IN RE:                                           §
                                                  §
 GABRIEL INVESTMENT GROUP, INC., ET AL.,          §           BANKRUPTCY NO. 19-52298-RBK
                                                  §
 DEBTORS                                          §           CHAPTER 11 CASE



 ORDER APPROVING (A) SALE PROCEDURES AND BID PROTECTIONS IN CONNECTION WITH THE
 SALE OF THE DEBTORS’ ASSETS; (B) THE FORM OF NOTICE FOR THE SALE OF THE DEBTORS’
  ASSETS AND (C) THE FORM OF NOTICE RELATED TO THE ASSUMPTION AND ASSIGNMENT OF
                    UNEXPIRED LEASES AND EXECUTORY CONTRACTS


           Came on for consideration, the Debtors’ Motion to Approve (A) Sale Procedures and Bid

 Protections in Connection with the Sale of the Debtors’ Assets; (B) the Form of Notice for the Sale

 of the Debtors’ Assets and (C) the Form of Notice Related to the Assumption and Assignment of

 Unexpired Leases and Executory Contracts (the “Sale Procedure Motion”)1 Based on the

 representations made in the Sale Procedure Motion, the Court finds that (i) it has jurisdiction over



 1Capitalized terms unless otherwise defined herein shall have the meaning as ascribed to them in
 the Sale Procedure Motion.


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 the matters raised in the Sale Procedure Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is

 a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and the Court my enter a final order on the

 Sale Procedure Motion; (iii) the relief requested in the Sale Procedure Motion seeking the

 establishment of sale procedures and bid protections in connection with the sale of certain of the

 Debtors’ assets is in the best interests of the Debtors, their Estates, and their creditors; (iv) proper

 and adequate notice of the Sale Procedure Motion has been given and no further notice is

 necessary; (v) all objections to the Sale Procedure Motion that were filed have been resolved or

 are hereby overruled; and (vi) based on the record herein, after due deliberation, good and

 sufficient cause exists for the granting of the Sale Procedure Motion in all respects, and pursuant

 to Bankruptcy Rule 7052, made applicable by Bankruptcy Rule 9014, the Court make the

 additional FINDINGS OF FACT AND CONCLUSIONS OF LAW.

           THE COURT FINDS THAT:

           A.   This Court has jurisdiction to consider the Sale Procedure Motion and grant the

 relief requested pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to

 28 U.S.C. § 157(b) and the Court may enter a final order on the Sale Procedure Motion. Venue

 of these Cases is proper under 28 U.S.C. §§ 1408 and 1409.

           B.   Notice of the Sale Procedure Motion and related hearing or matter was reasonable

 and sufficient and complied with all applicable requirements of the Bankruptcy Code and the

 Bankruptcy Rules in light of the circumstances and nature of the relief requested therein, and no

 other or further notice is necessary. A reasonable and fair opportunity to object to the Sale

 Procedure Motion and all relief requested therein and granted in this Order has been afforded.




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           C.   The legal and factual bases set forth in the Sale Procedure Motion establish just

 cause for the relief granted herein. Granting the relief is in the best interests of the Debtors, their

 Estates, and creditors.

           D.   Debtors have articulated good and sufficient reasons for this Court to grant the Sale

 Procedure Motion and to approve the Sale Notice, in substantially the same form as Exhibit 1 to

 this Order, the Sale Procedures, in substantially the same form as Exhibit 2 to this Order, and the

 Cure Claim Notice, in substantially the same form as Exhibit 3 to this Order.

           E.   The Sale Procedures are reasonable and appropriate and designed to maximize the

 value of the Debtors’ assets.

           F.   The bid protections being granted to Nooner Holdings, Ltd. (the “Stalking Horse

 Bidder”) were negotiated in good faith, at arms’ length, and necessary inducements to the Stalking

 Horse Bidder and are (1) actual and necessary costs of preserving the Estates within the meaning

 of Bankruptcy Code section 503(b)(1)(A) and 507(a), (2) commensurate to the real and substantial

 benefit conferred on the Estates by such Stalking Horse Bidder, (3) reasonable and appropriate in

 light of the circumstances.

           G.   The payment of the Break Up Fee and Expense Reimbursement due and payable

 immediately to the Stalking Horse Bidder if the Proposed Transactions are not consummated with

 the Stalking Horse Bidder, as well as the establishment of the proposed sale procedures, are both

 reasonable and necessary to enter into a sale transaction and to obtain the highest price possible

 for the Property.

           THEREFORE, IT IS ORDERED THAT:

           1.   The Sale Procedure Motion is approved and granted.




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           2.      Any objections to the Sale Procedure Motion that have not been withdrawn, waived

 or settled as announced to the Court at the hearing on the Sale Procedure Motion, are overruled in

 their entirety.

           3.      The Sale Notice, attached as Exhibit 1 to this Order, is approved. Within three

 business days after the Court enters an Order approving this Sale Procedure Motion, Debtors shall

 serve the Sale Notice by (a) first-class United States mail, postage-prepaid on (i) the parties

 identified on the Creditor Matrix in these Cases at the addresses set forth therein, (ii) the parties

 that have filed proofs of claim in these Cases at the addresses set forth in the respective proofs of

 claim, and (iii) any other parties who have expressed an interest in acquiring the Property; and

 (b) the Court’s electronic-filing system on those parties receiving electronic notice by such system.

 Service of such Sale Notice is proper, due, timely, good, and sufficient notice of, among other

 things, the Sale Procedures, the auction, the proposed Sale, and the procedure for objecting thereto.

 Additionally, Debtors may provide publication notice if (a) requested by NH or (b) the Debtors

 believe that such additional notice would improve the results of the auction and is in the best

 interests of the Estates.

           4.      NH is hereby approved as the Staking Horse Bidder. The proposed bid protections

 are hereby approved, in the manner set forth herein, including: (a) a Break Up Fee of $300,000; (b)

 an Expense Reimbursement of $75,000; (c) an Initial Overbid equal to the sum of (w) the Purchase

 Price, (x) the Break Up Fee, (y) Expense Reimbursement, and (z) $125,000; and (d) Subsequent

 Overbids equal to $100,000. The Break Up Fee and the Expense Reimbursement are entitled to

 administrative-expense priority pursuant to sections 503(b)(1)(A) and 507(a) of the Bankruptcy

 Code, but senior to all other administrative expenses (other than super-priority administrative

 claims of PNC for failed adequate protection), and payable to the Stalking Horse Bidder if the




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 Proposed Transactions are not consummated with the Stalking Horse Bidder; provided, however,

 that (i) the Stalking Horse Bidder shall not be entitled to payment of the Breakup Fee or Expense

 Reimbursement if the Stalking Horse Bidder’s asset purchase agreement is terminated by the

 Debtors as a result of a breach by the Stalking Horse Bidder and (ii) the Break Up Fee and Expense

 Reimbursement shall be subordinate only to PNC’s outstanding secured and super-priority

 administrative claims for failed adequate protection; the Break Up Fee and Expense

 Reimbursement shall be senior to all other administrative expenses. If there is a Credit Bid for the

 Property, then the Credit Bid shall have a cash component equal to the sum of the Break Up Fee

 and the Expense Reimbursement. The Stalking Horse Bidder shall be allowed to credit bid the

 Break Up Fee and Expense Reimbursement in any subsequent bids.

           5.   The Sale Procedures, attached as Exhibit 2 to this Order, which relate to the sale of

 the Property (the “Sale”), are approved.

           6.   Any party, other than the Stalking Horse Bidder, wishing to participate as a

 qualified bidder should provide an Asset Purchase Agreement to Thomas Rice, Pulman, Cappuccio

 & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio, Texas 78213; Fax No. (210)

 892-1610; email trice@pulmanlaw.com and deposit One Hundred Thousand and no/100 Dollars

 ($100,000.00) (the “Earnest Money Deposit”) with an escrow agent by no later than April 15,

 2020 (the “Bid Deadline”). The Stalking Horse Bidder shall deliver an Earnest Money Deposit to

 the escrow agent by no later than April 1, 2020. Any such Bid submitted by the Bid Deadline shall

 be in the amount of at least Seven Million Five Hundred Thousand and no/100 Dollars

 ($7,500,000.00) to be a Qualified Bid and to allow the Bidder to participate in the auction of the

 Property (“Qualified Bidder”). The deposited funds will be held by the escrow agent until after

 the closing of the Sale. The Earnest Money Deposit of all Qualified Bidders (except for the




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 Successful Bidder and Back-Up Bidder) will be returned, without interest, to each Qualified Bidder

 as soon as reasonably practicable but in any event within seven (7) business days after the closing

 of the Sale. The Debtors shall provide PNC Bank, N.A. (“PNC”) and the Committee with prompt,

 written notice each time that they deem a potential bidder to be a Qualified Bidder. Counsel for

 the following parties may attend any Auction of the Property:

                 a. Debtors;
                 b. Qualified Bidders;
                 c. PNC;
                 d. the Committee; and
                 e. Southern Glazer’s Wine and Spirits, LLC.
           7.       The closing of the Sale shall occur no later than April 30, 2020; provided, however,

 that this requirement may be waived once by agreement between Debtors, PNC the Committee,

 and the Successful Bidder.

           8.       If the Debtors receive one or more timely and conforming Qualified Bids by the

 Bid Deadline, Debtors shall conduct an auction for the sale of the Property at the offices of Pulman,

 Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio, Texas 78213 on

 Monday April 20, 2020 at 1:30 p.m., prevailing Central Time (the “Auction”). All Qualified

 Bidders may participate in such Auction.

           9.       After conclusion of the Auction, Debtors shall request that the Court approve the

 highest or best Qualified Bid received at the Auction as the winning bid (the “Successful Bid”) at

 a hearing to be held at Hipolito F. Garcia Federal Building and United State Courthouse,

 Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on Thursday April

 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

           10.      Any objection(s) filed to the sale of the Property, other than objections related to

 the assumption and assignment of executory contracts (which shall be submitted in accordance


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 with the Sale Procedures Order) (i) shall be set forth in writing and shall specify with particularity

 the grounds for such objections or other statements of position; (ii) shall be filed with the Court on

 or before on or before April 17, 2020 (the “Objection Deadline”). Any person failing to timely

 file an objection to the Sale prior to the Objection Deadline shall be forever barred from objecting

 to the Sale, including the transferring of the Property free and clear of any and all liens, claims and

 other interests, and will be deemed to consent to the Sale.

           11.   The Notice of Assumption and Assignment, attached as Exhibit 3 to this Order, is

 approved, because it (a) contains the type of information required under Bankruptcy Rule 2002

 that is currently known to the Debtor and (b) is reasonably calculated to provide due, adequate,

 and timely notice to all counterparties of (i) the assumption and assignment of the 365 Contracts

 and rights thereunder, (ii) once designated by a Qualified Bidder as a contract that such bidder

 desires to assume, the maximum amount and manner offered to satisfy the Cure Costs, and (iii)

 the deadline to file objections to such assumption and assignment, applicable cure costs (if

 designated by a Qualified Bidder as a contract that they wish to assume), the existence of any

 defaults, and/or adequate assurance of future performance.

           12.   On or before March 18, 2020, Debtors shall file with the Court and serve via first-

 class mail on all counterparties to any of the Debtors’ executory contracts and unexpired leases

 (together, the “365 Contracts”) and all parties who have requested notice in these chapter 11 cases

 pursuant to Bankruptcy Rule 2002 (collectively, the “Contract Notice Parties”) a notice of

 assumption, assignment and sale.

           13.   The Notice of Assumption and Assignment shall include the Debtors’ calculation

 of the amount necessary to cure all monetary defaults (the “Cure Costs”) for each 365 Contract.

 The Debtors reserve the right to supplement the list of 365 Contracts and provide additional




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 Notices of Assumption and Assignment for previously omitted 365 Contracts as appropriate, and

 to remove a 365 Contract from the list of Desired 365 Contracts at any time prior to conclusion of

 the Sale Hearing, unless the proposed assumption and assignment of any Desired Contract is

 passed for the Court’s consideration to a later date.

           14.   Any objections to the assumption and assignment of any 365 Contract identified in

 a Notice of Assumption and Assignment, including, but not limited to, objections relating to

 adequate assurance of future performance, conditions to assumption and/or assignment or

 objections to Cure Costs set forth in a Notice of Assumption and Assignment must be in writing

 and filed with the Court by the earlier of (a) twenty-one (21) days after the date on which the

 Notice of Assumption and Assignment is served or (b) the date of the Sale Hearing.

           15.   In the event that any bid submitted by a Qualified Bidder requires the assumption

 and assignment of any executory contract that was not previously the subject of a Notice of

 Assumption and Assignment, the Debtors shall, within three (3) business days following the

 receipt of such bid from a Qualified Bidder, cause a supplemental Notice of Assumption and

 Assignment to be served upon any counterparties to the additional executory contracts specified

 in such Qualified Bidder’s bid. Any objections to the assumption and assignment of such

 additional 365 Contracts that are the subject of Notice of Assumption and Assignment must be in

 writing and filed with the Court by the earlier of (a) twenty-one (21) days after the date on which

 the supplemental Notice of Assumption and Assignment is served or (b) the date of the Sale

 Hearing.

           16.   If at any time after the entry of the Sale Order, the Debtors identify additional

 prepetition executory contracts that may be subject to being assumed and assigned to the

 Successful Bidder, the Debtors shall serve a supplemental notice of assumption and assignment (a




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 “Supplemental Notice of Assumption and Assignment Notice”) by facsimile, electronic

 transmission, hand delivery or overnight mail on the counterparty (and its attorney, if known) to

 each supplemental 365 Contract at the last-known address available to the Debtors by no later than

 ten (10) days before the proposed effective date of the assignment. Each such Supplemental Notice

 of Assumption and Assignment shall set forth (a) the name and address of the 365 Contract

 counterparty, (b) notice of the proposed effective date of the assignment (subject to the right of

 Successful Bidder(s) to withdraw such request for assumption and assignment of the 365 Contract

 prior to the Closing), (c) identification of the 365 Contract, (d) the Cure Costs, if any, to the extent

 such 365 Contract has been designated for assumption and assignment by a Qualified Bidder, and

 (e) the proposed adequate assurance, as applicable.

           17.   The inclusion of a 365 Contract on the Notice of Assumption and Assignment shall

 not obligate the Successful Bidder to take assignment of such 365 Contract. Only those 365

 Contracts that constitute 365 Contracts selected by the Successful Bidder pursuant to their final

 Asset Purchase Agreement will be assumed, assigned and sold to the Successful Bidder, which

 assumption shall occur effective on the date of the closing of the Successful Bidder’s Asset

 Purchase Agreement, the Successful Bidder retains the right, at any time prior to the Asset

 Purchase Agreement closing, to add or remove 365 Contracts fir the list of executory agreement

 that will be acquired by the Successful Bidder.

           18.   Within one (1) business day after the conclusion of the Auction, the Debtors will

 file the Successful Bidder’s proposed form of adequate assurance of future performance with the

 Bankruptcy Court. Objections to the successful bidder’s adequate assurance of future performance

 must be raised no later than April 22, 2020.




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           19.   If a counterparty to a 365 Contract files a timely objection asserting a higher cure

 than the maximum Cure Costs set forth in the Notice of Assignment and Assumption, and the

 parties are unable to consensually resolve the dispute prior to the Sale Hearing, the amount to be

 paid or reserved with respect to such objection will be determined at the Sale Hearing. All other

 objections to the proposed assumption and assignment of the Debtors’ right, title, and interest in,

 to and under the 365 Contracts, if it is ultimately designated a 365 Contract by a Qualified Bidder,

 in its sole and absolute discretion, at any time prior to Sale Hearing, to be assumed, assigned, and

 sold to it in connection with the Proposed Transaction (a “Desired 365 Contract”), will also be

 heard at the Sale Hearing.

           20.   If no objection is timely filed and served, the counterparty to a 365 Contract shall

 be deemed to have consented to the assumption, assignment and sale of the 365 Contract to any

 Successful Bidder if such 365 Contract is designated by any Successful Bidder, in its sole and

 absolute discretion, as a Desired 365 Contract and shall be forever barred from asserting any

 objection with regard to such assumption, assignment and sale, except with respect to the adequate

 assurance of future performance by any Successful Bidder. Any objections to any Successful

 Bidder’s proposed form of adequate assurance of future performance must be raised at the Sale

 Hearing and will be resolved at Sale Hearing. The Cure Costs provided to the contract counterparty

 shall be controlling, notwithstanding anything to the contrary in any 365 Contract, or any other

 document, and the counterparty to the 365 Contract shall be deemed to have consented to the Cure

 Costs and shall be forever barred from asserting any other claims related to such 365 Contract

 against the Debtors or the Successful Bidder(s), or the property of any of them.

           21.   Notwithstanding Bankruptcy Rules 6004, 6006 or otherwise, this Order shall be

 effective and enforceable immediately upon entry and its provisions shall be self-executing. To




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 the extent applicable, the stays described in Bankruptcy Rules 6004(h) and 6006(d) are hereby

 waived.

           22.   The Debtors, with the written consent of PNC and the Committee, retain the right

 to: (a) determine whether any Qualified Bid is a successful bid, (b) reject, at any time prior to the

 entry of the Sale Order, any Bid that the Debtors, with the written consent of PNC and the

 Committee, determine to be inadequate, insufficient, or not in conformity with the sale procedures.

           23.   Debtors, with the written consent of PNC and the Committee, may modify the Sale

 Procedures, without the need for any further order of the Bankruptcy Court, including, without

 limitation (a) extending the deadlines set forth in these Sale Procedures, and (b) adjourning the

 Sale Hearing.

           24.   The Court shall retain jurisdiction to hear and determine all matters arising from

 the implementation of this Order.

                                                 ###

 ORDER SUBMITTED BY:

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 ATTORNEYS FOR DEBTORS




 {00469972 2}                               – 11 –
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                EXHIBIT 1
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 IN RE:                                           §
                                                  §
 GABRIEL INVESTMENT GROUP, INC., ET AL.,          §       BANKRUPTCY NO. 19-52298-RBK
                                                  §
 DEBTORS                                          §       CHAPTER 11 CASE
                                                  §


                NOTICE OF SALE OF DEBTORS’ ASSETS AND BIDDING PROCEDURES


                PLEASE READ THIS NOTICE CAREFULLY AS YOUR
                RIGHTS MAY BE AFFECTED AS SET FORTH HEREIN.

       On September 27, 2019 (the “Petition Date”), the Debtors filed voluntary petitions under
 Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the
 “Bankruptcy Code”).

          On March __, 2020, Debtors filed Debtors’ Motion to Approve (A) Sale Procedures and
 Bid Protections in Connection with the Sale of the Debtors’ Assets; (B) the Form of Notice for
 the Sale of the Debtors’ Assets and (C) the Form of Notice Related to the Assumption and
 Assignment of Unexpired Leases and Executory Contracts (the “Bid Procedures Motion”)
 seeking approval of certain procedures for the sale of and taking bids (the “Sale
 Process”) on the Debtors’ Property. Through this Sale Process, Debtors seek the highest and
 best offer(s) for the sale of the Property (the “Sale”) free and clear of any and all liens, claims,
 rights, interests, and encumbrances in accordance with Section 363(f) of the Bankruptcy Code,
 with such liens, claims, rights, interests, and encumbrances to attach to the sale proceeds. The
 Sale Process is subject to, and all offers must be in accordance with, the sale procedures
 approved by the Bankruptcy Court, which are attached hereto as Exhibit A (the “Bid
 Procedures”).

        On March ___, 2020, the Bankruptcy Court entered its Order Approving (A) Sale
 Procedures and Bid Protections in Connection with the Sale of the Debtors’ Assets; (B) the
 Form of Notice for the Sale of the Debtors’ Assets and (C) the Form of Notice Related to the
 Assumption and Assignment of Unexpired Leases and Executory Contracts [Docket No. ]
 (the “Bid Procedures Order”) in which it, among other things, (a) approved the Bid
 Procedures, (b) approved the form and manner of notice of the Bid Procedures, (c) set an
 Objection Deadline to the Sale, and (d) established the date for the Sale.

         Any party desiring to make an offer to buy, or a proposal relating to, the Property that is
 the subject of the Bid Procedures must comply with those Bid Procedures and submit a bid by no
 later than April 15, 2020 (the “Bid Deadline”).



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        In the event Debtors receive one or more timely and conforming Qualified Bids by the
 Bid Deadline, the Debtors shall conduct an auction for the sale of the Property at the offices of
 Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio, Texas
 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time (the “Auction”). All
 Qualified Bidders may participate in such Auction.

        After conclusion of the Auction, Debtors shall request that the Court approve the highest
 or best Qualified Bid received at the Auction as the winning bid (the “Successful Bid”) at a
 hearing to be held at Hipolito F. Garcia Federal Building and United State Courthouse,
 Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on Thursday
 April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

         Objections, if any, to the consummation of the Sale, other than objections with respect
 to the assumption and assignment of executory contracts, shall be filed with the Bankruptcy
 Court by no later than April 17, 2020 (the “Objection Deadline”). Objections to the
 assumption and assignment of executory contracts must be submitted before the deadlines set
 forth in the Bid Procedures Order, which generally provides that such objections must be filed
 and served within the earlier of (x) twenty-one (21) days after the service of a notice of potential
 assumption of such executory contracts and (y) the date of the Sale Hearing.

         Any person failing to timely file an objection to the Sale prior to the deadlines set forth
 in the Bid Procedures Order shall be forever barred from objecting to the Sale, including the
 transferring of the Property free and clear of any and all liens, claims and other interests, and
 will be deemed to consent to the Sale.

                                                  Respectfully submitted,

                                                  PULMAN, CAPPUCCIO & PULLEN, LLP
                                                  2161 NW Military Highway, Suite 400
                                                  San Antonio, Texas 78213
                                                  www.pulmanlaw.com
                                                  (210) 222-9494 Telephone
                                                  (210) 892-1610 Facsimile

                                                  By: /s/ Thomas Rice
                                                      Randall A. Pulman
                                                      Texas State Bar No. 16393250
                                                      rpulman@pulmanlaw.com
                                                      Thomas Rice
                                                      Texas State Bar No. 24025613
                                                      trice@pulmanlaw.com
                                                      Amber F. Fly
                                                      Texas State Bar No. 24101761
                                                      afly@pulmanlaw.com

                                                  ATTORNEYS FOR DEBTOR AND DEBTOR-IN-
                                                  POSSESSION


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                        EXHIBIT A




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                                       SALE PROCEDURES

         On September 27, 2019 (the “Petition Date”), the Debtors filed voluntary petitions
  under Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended,
  the “Bankruptcy Code”).

         These Sale Procedures have been approved and authorized pursuant to the Debtors’
  Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of
  the Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the
  Form of Notice Related to the Assumption and Assignment of Unexpired Leases and
  Executory Contracts (the “Sale Procedure Motion”) and the Order Approving Debtors’
  Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of the
  Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the Form
  of Notice Related to the Assumption and Assignment of Unexpired Leases and Executory
  Contracts (the “Sale Procedures Order”), entered by the United States Bankruptcy Court for
  the Western District of Texas, San Antonio Division.

                A. Assets to be Sold
          Debtors seek to consummate the Proposed Transactions with NH (as defined in the
  Sale Procedure Motion), including the sale of substantially all of their assets, as defined in the
  Sale Procedure Motion and draft Asset Purchase Agreement, which is attached to the Sale
  Procedure Motion. The Property shall be sold free and clear of all claims, encumbrances,
  liens, and interests. Debtors may consider bids from one or more Qualified Bidders for the
  Property; provided, however, that multiple bidders may not act together pursuant to a collusive
  agreement between or among them.

          Generally, the Property includes all assets, rights, entitlements and privileges of the
  Debtors’ assets and rights of the Debtors, including possibly (a) 32 locations and (b)(i) the
  assumption and assignment to NH of all leasehold rights in all locations or used in the
  Debtors’ business operations; (ii) the assumption and assignment of all personal-property
  leases used in the Debtors’ business operations and designated by NH in its sole and absolute
  discretion; (iii) the conveyance free and clear of all liens, claims, encumbrances, and interests
  of all inventory, furniture, fixture, equipment located at or used in the operation for each of the
  32 locations, and (iv) conveyance of all intellectual property related to the operation of the
  Debtors’ businesses, including, without limitation, all patents, permits, licenses, exemptions
  (including any pre-1949 or pre-1995 permits), trademarks, designs, social-media assets, e-
  commerce assets, URLs, customer lists, and data associated with the stores to NH free and
  clear of all liens, claims, encumbrances, and interests (collectively, items (i)-(iv) are the
  “Property”) and (c) the acquisition of all stock in the Debtors. the Debtors propose to
  effectuate the Proposed Transactions, subject to higher and better offers.

         The Property currently includes acquisition of the equity interests in Gabriel Investment
  Group, Inc., a publicly held corporation (the “PubCo”) that is authorized to own liquor store
  permits under Section 22.16(f) of the Texas Alcoholic Beverage Code. Debtors will also
  consider offers seeking to purchase either the PubCo separately or purchase the Liquor Store
  assets without acquiring the equity interests in PubCo.


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        The Debtors have set up a data room, which can be accessed by contacting the Debtors’
  Investment Bankers at:

  John J. O’Neill                                     Brad Walker
  NTA – A Riverbend Company                           NTA – A Riverbend Company
  (214) 870-5040                                      (214) 616-6256
  joneill@nta-riverbend.com                           bwalker@riverbendssg.com

                B. Submission of Initial Qualifying Bids by Potential Purchasers

          Any person desiring to submit a bid for the Property (a “Bid”) and to participate in the
  auction of the Property (the “Auction”) shall deliver their Bid and an executed copy of an
  Asset Purchase Agreement to Thomas Rice, Pulman, Cappuccio & Pullen, LLP, 2161 NW
  Military Highway, Suite 400, San Antonio, Texas 78213; Fax No. (210) 892-1610; email
  trice@pulmanlaw.com and deposit One Hundred Thousand and no/100 dollars ($100,000.00)
  (the “Earnest Money Deposit”) with an escrow agent selected by the Debtors, such that the
  Bid is actually received by close of business on April 15, 2020 (the “Bid Deadline”).

         Any such Bid submitted by the Bid Deadline shall be in the amount of at least
  $7,500,000 to be a Qualified Bid and to allow that Bidder to participate in the Auction of the
  Property.

                C. Stalking Horse Bid

          The Court has approved the Stalking Horse Bidder, the Stalking horse Bid, and the bid
  protections. The Stalking Horse Bidder and PNC are Qualified Bidders. If no other Qualified
  Bids are received, the Stalking Horse Bidder shall be deemed the highest or best bid for the
  Property, and the Debtors shall seek approval of the Proposed Transactions with the Stalking
  Horse Bidder on the terms outlined in the Stalking Horse Bid.

                D. The Auction and Selection of the Successful Bid
         If the Debtors receive one or more timely and conforming Qualified Bids by the Bid
  Deadline, Debtors shall conduct an Auction for the sale of the Property at the offices of
  Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio,
  Texas 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time and all
  Qualified Bidders may participate in such Auction.

         If multiple Qualified Bids satisfying all requirements are received and Debtors
  determine to proceed with an Auction as set forth above, each Qualified Bidder (including
  PNC and the Stalking Horse Bidder) shall have the right to continue to improve its bid at the
  Auction.

         At the Auction, Debtors shall announce the highest or best Qualified Bid received by
  the Bid Deadline, which Qualified Bid shall be the starting bid at the Auction. The Stalking
  Horse Bidder shall have the right to make the first overbid. All subsequent bids shall proceed
  in the order of receipt. Qualified Bidders may then improve their Qualified Bids, in
  increments of at least $100,000.00, overbidding the previous high bid at the Auction.


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         The Debtors, with the written consent of PNC, the Official Committee of Unsecured
  Creditors (the “Committee”) and the Stalking Horse Bidder, retain the right to modify the
  Overbid Increment during the course of the Auction. By making a Qualified Bid, a Qualified
  Bidder shall be deemed to have agreed to keep its final Qualified Bid open until closing of the
  approved Sale.

         At the conclusion of the Auction, Debtors shall request that the Court approve the
  highest or best Qualified Bid received at the Auction as the winning bid (the “Successful
  Bid”) at a hearing to be held at Hipolito F. Garcia Federal Building and United State
  Courthouse, Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on
  Thursday April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

                E. Objections to Sale
          Any objection(s) filed to the sale of the Property, other than objections related to the
  assumption and assignment of executory contracts (which shall be submitted in accordance
  with the Sale Procedures Order) (i) shall be set forth in writing and shall specify with
  particularity the grounds for such objections or other statements of position; (ii) shall be filed
  with the Court on or before on or before April 17, 2020 (the “Objection Deadline”). Any
  person failing to timely file an objection to the Sale prior to the Objection Deadline shall be
  forever barred from objecting to the Sale, including the transferring of the Property free and
  clear of any and all liens, claims and other interests, and will be deemed to consent to the Sale.

         Any objections to the assignment and/or assumption of any of the Debtors’ executory
  contracts or agreements must be submitted in accordance with the timeline set forth in the Sale
  Procedure Order, which generally requires that any such objections be filed no later than
  twenty-one (21) days after service of the applicable assumption and assignment notice.

                F. Court Approval

         At the Sale Hearing, Debtors will seek entry of an order approving the sale of the
  Property to the Successful Bidder pursuant to 11 U.S.C. §363(f) and free and clear of all liens,
  claims, encumbrances, and interests. The Sale Hearing may be adjourned or rescheduled as
  ordered by the Bankruptcy Court or by Debtors with the approval of PNC, the Committee and
  the Successful Bidder and without further notice to creditors and parties in interest other than
  by announcement by Debtors of the adjourned date at the Sale Hearing.

         Debtors’ presentation to the Bankruptcy Court for approval of a Successful Bid does
  not constitute Debtors’ acceptance of the Bid. Debtors will be deemed to have accepted a Bid
  only when the Bid has been approved by Order of the Bankruptcy Court.

                G. Closing

         The closing of the sale of the Property shall occur no later than April 30, 2020 (the
  “Final Closing Deadline”); provided, however, that this requirement may be waived upon an
  agreement between Debtors, PNC, the Committee and the Successful Bidder.

                H. Failure to Consummate Purchase


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          If any Successful Bidder fails to consummate the purchase of the Property, and such
  failure to consummate the purchase is the result of a breach by such Successful Bidder, the
  Earnest Money Deposit of such Successful Bidder shall be forfeited to the Estates.

                I. Back-Up Bidders

          If any Successful Bidder fails to consummate a Sale because of a breach or failure to
  perform on the part of such Successful Bidder, the Qualified Bidder that had submitted the
  next highest or otherwise best Qualified Bid at the Auction (if any), as determined by the
  Debtors, PNC, and the Committee (the “Back-Up Bidder(s)”) will be deemed to be the
  Successful Bidder for the Property and Debtors, with the consent of PNC and the Committee,
  will be authorized to consummate the Sale of the Property to such Back-Up Bidder without
  further order of the Bankruptcy Court and such Qualified Bid shall thereupon be deemed the
  Successful Bid. If any Qualified Bidder fails to consummate a Sale because of a breach or
  failure to perform on the part of such Qualified Bidder or for any reason within ten days after
  being deemed the Back-Up Bidder pursuant to this section of the Sale Procedures, the process
  described above may continue as determined by Debtors with the consent of PNC and the
  Committee, until a Qualified Bidder shall consummate the Sale.

                J. Return of Earnest Money Deposit

          Unless otherwise outlined in the Asset Purchase agreement, the Earnest Money
  Deposit of all Qualified Bidders, who are not the Successful Bidder, will be returned, without
  interest, to each such Qualified Bidder as soon as reasonably practicable but in any event
  within seven (7) business days after the closing of the Sale.

                K. Reservation of Rights

          1.      Determination of Successful Bid. Debtors, with the written consent of PNC and
  the Committee, retain the right to: (a) determine whether any Qualified Bid is a successful bid,
  (b) reject, at any time prior to the entry of the Sale Order, any Bid that the Debtors, with the
  written consent of PNC and the Committee, determine to be inadequate, insufficient, or not in
  conformity with the sale procedures.
         2.      Modification of Bidding Procedures. Debtors, with the written consent of PNC
  and the Committee, may modify the Sale Procedures, without the need for any further order of
  the Bankruptcy Court, including, without limitation (a) extending the deadlines set forth in
  these Sale Procedures, and (b) adjourning the Sale Hearing.

                L. As Is, Where As Sale

          The sale of the Property shall be on an “as is, where as” basis and without
  representations or warranties of any kind, nature, or description by the Debtors, their Estates,
  or their agents and representatives. Except as otherwise expressly provided in these Sale
  Procedures, by submitting a bid, each Potential Purchaser that submits a bid shall be deemed
  to acknowledge and represent that it (i) has had an opportunity to conduct any and all
  reasonable due diligence regarding the Property prior to makings its bid, (ii) has relied solely


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  upon its own independent review, investigation and/or inspection of any and all documents
  and/or the Property in making its bid, and (iii) did not rely on any written or oral statements,
  representations, promises, warranties or guaranties whatsoever, whether express, implied, by
  operation of law or otherwise, regarding the Property, or the completeness of any information
  provided in connection therewith.

                M. Debtor’s Counsel

        Any questions regarding these Sales Procedures should be addressed to Debtors’
  Counsel whose contact information is:

                Randall A. Pulman
                rpulman@pulmanlaw.com
                Thomas Rice
                trice@pulmanlaw.com
                Amber Fly
                afly@pulmanlaw.com
                PULMAN, CAPPUCCIO & PULLEN, LLP
                2161 NW Military Highway, Suite 400
                San Antonio, Texas 78213
                www.pulmanlaw.com
                (210) 222-9494 Telephone
                (210) 892-1610 Facsimile




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                EXHIBIT 2
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                                       SALE PROCEDURES

         On September 27, 2019 (the “Petition Date”), the Debtors filed voluntary petitions
  under Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended,
  the “Bankruptcy Code”).

         These Sale Procedures have been approved and authorized pursuant to the Debtors’
  Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of
  the Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the
  Form of Notice Related to the Assumption and Assignment of Unexpired Leases and
  Executory Contracts (the “Sale Procedure Motion”) and the Order Approving Debtors’
  Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of the
  Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the Form
  of Notice Related to the Assumption and Assignment of Unexpired Leases and Executory
  Contracts (the “Sale Procedures Order”), entered by the United States Bankruptcy Court for
  the Western District of Texas, San Antonio Division.

                A. Assets to be Sold
          Debtors seek to consummate the Proposed Transactions with NH (as defined in the
  Sale Procedure Motion), including the sale of substantially all of their assets, as defined in the
  Sale Procedure Motion and draft Asset Purchase Agreement, which is attached to the Sale
  Procedure Motion. The Property shall be sold free and clear of all claims, encumbrances,
  liens, and interests. Debtors may consider bids from one or more Qualified Bidders for the
  Property; provided, however, that multiple bidders may not act together pursuant to a collusive
  agreement between or among them.

          Generally, the Property includes all assets, rights, entitlements and privileges of the
  Debtors’ assets and rights of the Debtors, including possibly (a) 32 locations and (b)(i) the
  assumption and assignment to NH of all leasehold rights in all locations or used in the
  Debtors’ business operations; (ii) the assumption and assignment of all personal-property
  leases used in the Debtors’ business operations and designated by NH in its sole and absolute
  discretion; (iii) the conveyance free and clear of all liens, claims, encumbrances, and interests
  of all inventory, furniture, fixture, equipment located at or used in the operation for each of the
  32 locations, and (iv) conveyance of all intellectual property related to the operation of the
  Debtors’ businesses, including, without limitation, all patents, permits, licenses, exemptions
  (including any pre-1949 or pre-1995 permits), trademarks, designs, social-media assets, e-
  commerce assets, URLs, customer lists, and data associated with the stores to NH free and
  clear of all liens, claims, encumbrances, and interests (collectively, items (i)-(iv) are the
  “Property”) and (c) the acquisition of all stock in the Debtors. the Debtors propose to
  effectuate the Proposed Transactions, subject to higher and better offers.

         The Property currently includes acquisition of the equity interests in Gabriel Investment
  Group, Inc., a publicly held corporation (the “PubCo”) that is authorized to own liquor store
  permits under Section 22.16(f) of the Texas Alcoholic Beverage Code. Debtors will also
  consider offers seeking to purchase either the PubCo separately or purchase the Liquor Store
  assets without acquiring the equity interests in PubCo.


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        The Debtors have set up a data room, which can be accessed by contacting the Debtors’
  Investment Bankers at:

  John J. O’Neill                                     Brad Walker
  NTA – A Riverbend Company                           NTA – A Riverbend Company
  (214) 870-5040                                      (214) 616-6256
  joneill@nta-riverbend.com                           bwalker@riverbendssg.com

                B. Submission of Initial Qualifying Bids by Potential Purchasers

          Any person desiring to submit a bid for the Property (a “Bid”) and to participate in the
  auction of the Property (the “Auction”) shall deliver their Bid and an executed copy of an
  Asset Purchase Agreement to Thomas Rice, Pulman, Cappuccio & Pullen, LLP, 2161 NW
  Military Highway, Suite 400, San Antonio, Texas 78213; Fax No. (210) 892-1610; email
  trice@pulmanlaw.com and deposit One Hundred Thousand and no/100 dollars ($100,000.00)
  (the “Earnest Money Deposit”) with an escrow agent selected by the Debtors, such that the
  Bid is actually received by close of business on April 15, 2020 (the “Bid Deadline”).

         Any such Bid submitted by the Bid Deadline shall be in the amount of at least
  $7,500,000 to be a Qualified Bid and to allow that Bidder to participate in the Auction of the
  Property.

                C. Stalking Horse Bid

          The Court has approved the Stalking Horse Bidder, the Stalking horse Bid, and the bid
  protections. The Stalking Horse Bidder and PNC are Qualified Bidders. If no other Qualified
  Bids are received, the Stalking Horse Bidder shall be deemed the highest or best bid for the
  Property, and the Debtors shall seek approval of the Proposed Transactions with the Stalking
  Horse Bidder on the terms outlined in the Stalking Horse Bid.

                D. The Auction and Selection of the Successful Bid
         If the Debtors receive one or more timely and conforming Qualified Bids by the Bid
  Deadline, Debtors shall conduct an Auction for the sale of the Property at the offices of
  Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio,
  Texas 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time and all
  Qualified Bidders may participate in such Auction.

         If multiple Qualified Bids satisfying all requirements are received and Debtors
  determine to proceed with an Auction as set forth above, each Qualified Bidder (including
  PNC and the Stalking Horse Bidder) shall have the right to continue to improve its bid at the
  Auction.

         At the Auction, Debtors shall announce the highest or best Qualified Bid received by
  the Bid Deadline, which Qualified Bid shall be the starting bid at the Auction. The Stalking
  Horse Bidder shall have the right to make the first overbid. All subsequent bids shall proceed
  in the order of receipt. Qualified Bidders may then improve their Qualified Bids, in
  increments of at least $100,000.00, overbidding the previous high bid at the Auction.


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         The Debtors, with the written consent of PNC, the Official Committee of Unsecured
  Creditors (the “Committee”) and the Stalking Horse Bidder, retain the right to modify the
  Overbid Increment during the course of the Auction. By making a Qualified Bid, a Qualified
  Bidder shall be deemed to have agreed to keep its final Qualified Bid open until closing of the
  approved Sale.

         At the conclusion of the Auction, Debtors shall request that the Court approve the
  highest or best Qualified Bid received at the Auction as the winning bid (the “Successful
  Bid”) at a hearing to be held at Hipolito F. Garcia Federal Building and United State
  Courthouse, Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on
  Thursday April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

                E. Objections to Sale
          Any objection(s) filed to the sale of the Property, other than objections related to the
  assumption and assignment of executory contracts (which shall be submitted in accordance
  with the Sale Procedures Order) (i) shall be set forth in writing and shall specify with
  particularity the grounds for such objections or other statements of position; (ii) shall be filed
  with the Court on or before on or before April 17, 2020 (the “Objection Deadline”). Any
  person failing to timely file an objection to the Sale prior to the Objection Deadline shall be
  forever barred from objecting to the Sale, including the transferring of the Property free and
  clear of any and all liens, claims and other interests, and will be deemed to consent to the Sale.

         Any objections to the assignment and/or assumption of any of the Debtors’ executory
  contracts or agreements must be submitted in accordance with the timeline set forth in the Sale
  Procedure Order, which generally requires that any such objections be filed no later than
  twenty-one (21) days after service of the applicable assumption and assignment notice.

                F. Court Approval

         At the Sale Hearing, Debtors will seek entry of an order approving the sale of the
  Property to the Successful Bidder pursuant to 11 U.S.C. §363(f) and free and clear of all liens,
  claims, encumbrances, and interests. The Sale Hearing may be adjourned or rescheduled as
  ordered by the Bankruptcy Court or by Debtors with the approval of PNC, the Committee and
  the Successful Bidder and without further notice to creditors and parties in interest other than
  by announcement by Debtors of the adjourned date at the Sale Hearing.

         Debtors’ presentation to the Bankruptcy Court for approval of a Successful Bid does
  not constitute Debtors’ acceptance of the Bid. Debtors will be deemed to have accepted a Bid
  only when the Bid has been approved by Order of the Bankruptcy Court.

                G. Closing

         The closing of the sale of the Property shall occur no later than April 30, 2020 (the
  “Final Closing Deadline”); provided, however, that this requirement may be waived upon an
  agreement between Debtors, PNC, the Committee and the Successful Bidder.

                H. Failure to Consummate Purchase


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          If any Successful Bidder fails to consummate the purchase of the Property, and such
  failure to consummate the purchase is the result of a breach by such Successful Bidder, the
  Earnest Money Deposit of such Successful Bidder shall be forfeited to the Estates.

                I. Back-Up Bidders

          If any Successful Bidder fails to consummate a Sale because of a breach or failure to
  perform on the part of such Successful Bidder, the Qualified Bidder that had submitted the
  next highest or otherwise best Qualified Bid at the Auction (if any), as determined by the
  Debtors, PNC, and the Committee (the “Back-Up Bidder(s)”) will be deemed to be the
  Successful Bidder for the Property and Debtors, with the consent of PNC and the Committee,
  will be authorized to consummate the Sale of the Property to such Back-Up Bidder without
  further order of the Bankruptcy Court and such Qualified Bid shall thereupon be deemed the
  Successful Bid. If any Qualified Bidder fails to consummate a Sale because of a breach or
  failure to perform on the part of such Qualified Bidder or for any reason within ten days after
  being deemed the Back-Up Bidder pursuant to this section of the Sale Procedures, the process
  described above may continue as determined by Debtors with the consent of PNC and the
  Committee, until a Qualified Bidder shall consummate the Sale.

                J. Return of Earnest Money Deposit

          Unless otherwise outlined in the Asset Purchase agreement, the Earnest Money
  Deposit of all Qualified Bidders, who are not the Successful Bidder, will be returned, without
  interest, to each such Qualified Bidder as soon as reasonably practicable but in any event
  within seven (7) business days after the closing of the Sale.

                K. Reservation of Rights

          1.      Determination of Successful Bid. Debtors, with the written consent of PNC and
  the Committee, retain the right to: (a) determine whether any Qualified Bid is a successful bid,
  (b) reject, at any time prior to the entry of the Sale Order, any Bid that the Debtors, with the
  written consent of PNC and the Committee, determine to be inadequate, insufficient, or not in
  conformity with the sale procedures.
         2.      Modification of Bidding Procedures. Debtors, with the written consent of PNC
  and the Committee, may modify the Sale Procedures, without the need for any further order of
  the Bankruptcy Court, including, without limitation (a) extending the deadlines set forth in
  these Sale Procedures, and (b) adjourning the Sale Hearing.

                L. As Is, Where As Sale

          The sale of the Property shall be on an “as is, where as” basis and without
  representations or warranties of any kind, nature, or description by the Debtors, their Estates,
  or their agents and representatives. Except as otherwise expressly provided in these Sale
  Procedures, by submitting a bid, each Potential Purchaser that submits a bid shall be deemed
  to acknowledge and represent that it (i) has had an opportunity to conduct any and all
  reasonable due diligence regarding the Property prior to makings its bid, (ii) has relied solely


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  upon its own independent review, investigation and/or inspection of any and all documents
  and/or the Property in making its bid, and (iii) did not rely on any written or oral statements,
  representations, promises, warranties or guaranties whatsoever, whether express, implied, by
  operation of law or otherwise, regarding the Property, or the completeness of any information
  provided in connection therewith.

                M. Debtor’s Counsel

        Any questions regarding these Sales Procedures should be addressed to Debtors’
  Counsel whose contact information is:

                Randall A. Pulman
                rpulman@pulmanlaw.com
                Thomas Rice
                trice@pulmanlaw.com
                Amber Fly
                afly@pulmanlaw.com
                PULMAN, CAPPUCCIO & PULLEN, LLP
                2161 NW Military Highway, Suite 400
                San Antonio, Texas 78213
                www.pulmanlaw.com
                (210) 222-9494 Telephone
                (210) 892-1610 Facsimile




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                EXHIBIT 3
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

 IN RE:                                                 §            CHAPTER 11
                                                        §
 GABRIEL INVESTMENT GROUP, INC., ET AL.,                §            BANKRUPTCY NO. 19-52298-RBK
                                                        §
 DEBTORS                                                §            JOINTLY ADMINISTERED


  NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES WHICH MAY BE ASSUMED AND
    ASSIGNED IN CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
            ASSETS AND THE PROPOSED CURE AMOUNT WITH RESPECT THERETO


 You are receiving this Notice of Executory Contracts and Unexpired Leases Which May Be
 Assumed and Assigned in Connection With the Sale of Substantially All of the Debtors’ Assets
 and the Proposed Cure Amount With Respect Thereto (the “Notice of Assumption and
 Assignment”) because you may be a counterparty to an executory contract or unexpired
 lease with Gabriel Investment Group Inc. et al. (“Debtors” or “Gabriel’s”),1 Debtors in the above
 captioned cases (the “Cases”). Please read this notice carefully as your rights may be affected
 by the transactions described herein.

 PLEASE TAKE NOTICE that on March [ ], 2020, the United States Bankruptcy Court for the
 Western District of Texas, San Antonio Division (the “Bankruptcy Court”) entered an order (the
 “Sale Procedures Order”) approving the Debtors’ Motion to Approve (A) Sale Procedures and
 Bid Protections in Connection with the Sale of the Debtors’ Assets; (B) the Form of Notice for
 the Sale of the Debtors’ Assets and (C) the Form of Notice Related to the Assumption and
 Assignment of Unexpired Leases and Executory Contracts (the “Sale Procedures Motion”), filed
 by the Debtors.2 The Sale Procedures Order set forth certain procedures (the “Sale Procedures”)
 in connection with the sale of the Debtors’ Assets (the “Sale Transaction”).

 PLEASE TAKE FURTHER NOTICE that pursuant to the Sale Procedures Order, the Debtors
 have established procedures for the assumption, assignment and sale of certain executory
 contracts and unexpired leases (collectively, the “365 Contracts”) to a potential purchaser and
 the determination of related Cure Costs (as defined herein). Debtors are a party to 365 Contracts
 and, in accordance with the Sale Procedures Order, hereby file this notice identifying (i) the 365
 Contracts which may be assumed and assigned to a Successful Bidder in connection with the
 Sale Transaction and (ii) the proposed amounts, if any, the Successful Bidder believes are owed

 1
   The terms “Debtors” and “Gabriel’s” as used herein shall mean Gabriel Investment Group, Inc. (“GIG”), Gabriel
 GP, Inc. (“GP”), Gabriel Holdings, LLC (“Gabriel Holdings”), Don’s & Ben’s, Inc. (“D&B”), and S.A. Discount
 Liquor, Inc. (“Discount Liquor”) collectively.
 2
   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Procedures
 Motion.



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 to the counterparty to the 365 Contract to cure all defaults or arrears existing under the 365
 Contract (the “Cure Costs”), both as set forth on Exhibit 1 attached hereto.

 PLEASE TAKE FURTHER NOTICE that the listing of a 365 Contract on Exhibit 1 does not
 constitute an admission that the agreement is an executory contract or unexpired lease as
 contemplated by section 365(a) of the Bankruptcy Code or that the Debtors have any liability
 thereunder, and the Debtors expressly reserve all of their rights, claims, causes of action and
 defenses with respect to the 365 Contracts listed on Exhibit 1.

 PLEASE TAKE FURTHER NOTICE that any objections to the assumption, assignment, and
 sale of any 365 Contract identified in this Notice (except with respect to the adequate assurance
 of future performance by any Successful Bidders), must be (i) in writing and (ii) filed with the
 Bankruptcy Court by no later than the earlier of (x) twenty-one (21) days from the date of this
 notice (the “Assumption and Assignment Objection Deadline”) or (y) the date of the
 Assumption/Assignment Hearing. Any such objections must set forth any objection to the
 possible assumption, assignment, and sale of the 365 Contracts (and must state, with specificity,
 the legal and factual basis thereof) and, if applicable, the proposed Cure Costs (and must state,
 with specificity, what Cure Costs are required with appropriate documentation in support
 thereof).

 PLEASE TAKE FURTHER NOTICE that if a counterparty to a 365 Contract files a timely
 objection asserting a higher cure amount than the maximum Cure Costs, and the parties are
 unable to consensually resolve the dispute prior to the hearing to resolve any such objection,
 which hearing will be held on April 23, 2020 (the “Assumption/Assignment Hearing”), the
 amount to be paid or reserved with respect to such objection will be determined at the
 Assumption/Assignment Hearing. All other objections to the proposed assumption and
 assignment of the Debtors’ right, title, and interest in, to and under the 365 Contracts, if it is
 ultimately designated a 365 Contract that the Successful Bidder proposes be assumed, assigned,
 and sold to it in connection with the transaction (a “Desired 365 Contract”), will also be heard at
 the Assumption/Assignment Hearing.

 PLEASE TAKE FURTHER NOTICE that if no objection is timely filed and served, the
 counterparty to a 365 Contract shall be deemed to have consented to the assumption, assignment
 and sale of the 365 Contract to any Successful Bidder if such 365 Contract is designated by any
 Successful Bidder as a Desired 365 Contract and shall be forever barred from asserting any
 objection with regard to such assumption, assignment and sale, except with respect to the
 adequate assurance of future performance by any Successful Bidder. Any objections to any
 Successful Bidder’s proposed form of adequate assurance of future performance must be filed
 with the Court by April 22, 2020 and will be resolved at the Assumption/Assignment Hearing.
 The Cure Costs provided to the contract counterparty shall be controlling, notwithstanding
 anything to the contrary in any 365 Contract, or any other document, and the counterparty to the
 365 Contract shall be deemed to have consented to the Cure Costs and shall be forever barred
 from asserting any other claims related to such 365 Contract against the Debtors or the
 Successful Bidder, or the property of any of them.




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 PLEASE TAKE FURTHER NOTICE that within one (1) business day after the conclusion of
 the Auction, the Debtors will file the Successful Bidder’s proposed form of adequate assurance
 of future performance with the Bankruptcy Court. Objections to the successful bidder’s adequate
 assurance of future performance must be raised no later than April 22, 2020.

 PLEASE TAKE FURTHER NOTICE that although the Debtors have made a good faith effort
 to identify all 365 Contracts that may be susceptible to being assumed and assigned in
 connection with the Sale Transaction, they may discover additional contracts that the Debtors
 and the Successful Bidder desire to assume and assign in connection therewith. Accordingly, if at
 any time after the entry of the Sale Order, the Debtors identify additional prepetition executory
 contracts that may be subject to being assumed and assigned to the Successful Bidder(s), the
 Debtors shall serve a supplemental notice of assumption and assignment (the “Supplemental
 Assumption and Assignment Notice”) by facsimile, electronic transmission, hand delivery or
 overnight mail on (i) the counterparty to each supplemental 365 Contract at the last known
 address available to the Debtors and ii) all parties who have requested notice in these Cases
 pursuant to Bankruptcy Rule 2002 by no later than ten (10) days before the proposed effective
 date of the assignment. Each such Supplemental Assumption and Assignment Notice shall set
 forth (i) the name and address of the contract counterparty, (ii) notice of the proposed effective
 date of the assignment (subject to the right of Successful Bidder to withdraw such request for
 assumption and assignment of the contract prior to the Closing), (iii) identification of the
 Contract, (iv) the Cure Costs, if any, to the extent such 365 Contract has been designated for
 assumption and assignment by a Successful Bidder, and (v) the proposed adequate assurance.

 PLEASE TAKE FURTHER NOTICE that this Notice of Assumption and Assignment is
 subject to the fuller terms and conditions of the Sale Procedures Order, with such Sale
 Procedures Order controlling in the event of any conflict, and the Debtors encourage parties-in-
 interest to review such documents in their entirety. Parties with questions regarding the proposed
 assumption, assignment, and sale procedures contained herein should contact the Debtors’
 counsel at the contact information provided below. The inclusion of a 365 Contract on Exhibit 1
 does not mean that such 365 Contract will be assumed or assigned in connection with the Sale
 Transaction or that the Debtors or any Successful Bidder will make any cure payment in
 connection with such 365 Contract.




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                                        Respectfully submitted,

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                                        San Antonio, Texas 78213
                                        www.pulmanlaw.com
                                        (210) 222-9494 Telephone
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                                        By: /s/ Thomas Rice
                                            Randall A. Pulman
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                                            Amber F. Fly
                                            Texas State Bar No. 24101761
                                            afly@pulmanlaw.com


                                        ATTORNEYS    FOR   DEBTORS   AND   DEBTORS-IN-
                                        POSSESSION




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                        Exhibit 1
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                             List to be Provided
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                         EXHIBIT B
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                                      PURCHASE AND SALE AGREEMENT

                This Purchase and Sale Agreement (this “Agreement”) is made effective as of [______],
        2020 (the “Effective Date”) by and between [Nooner Holdings, LTD Entity], a [____]
        (“Purchaser”), and Gabriel Investment Group, Inc., a Texas corporation (“GIG”), Gabriel GP,
        Inc., a Texas corporation (“GGP”), Gabriel Holdings, LLC, a Texas limited liability company
        (“Holdings”), Don’s and Ben’s, Inc., a Texas corporation (“D&B”), SA Discount Liquors, Inc.,
        and Texas corporation (“SADL”; and together with GIG, GGP, Holdings and D&B, collectively,
        “Sellers”), and, solely with respect to the terms and conditions of Section 6.7 hereof, the
        Noncompete Persons. The Purchaser and Sellers are collectively referred to herein as the
        “Parties.” Capitalized terms used herein but not otherwise defined have the meanings ascribed
        to them in ARTICLE XII.

                                                    RECITALS:

               WHEREAS, Sellers own, manage and operate the liquor and/or package stores set forth
        on Schedule 1 (the “Businesses”) in the State of Texas;

                WHEREAS, Sellers filed petitions (the “Petitions”) for relief, commencing cases
        (collectively, the “Chapter 11 Case”) under Chapter 11 of Title 11 of the United States Code, 11
        U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
        Western District of Texas (the “Bankruptcy Court”);

               WHEREAS, in connection with the administration of the Petitions, Sellers desire to sell
        to Purchaser, and Purchaser desires to acquire from Sellers, the Assets, subject to the approval of
        the Bankruptcy Court and all in the manner and subject to the terms and conditions set forth in
        this Agreement and in accordance with sections 105, 363 and 365 of the Bankruptcy Code (the
        “Transaction”); and

             WHEREAS, Purchaser is in the process of obtaining Texas Alcohol and Beverage
        Commission (“TABC”) licenses to operate liquor stores at each of the Properties;

                NOW, THEREFORE, in consideration of the mutual benefits to be derived from this
        Agreement and of the representations, warranties, conditions, agreements and promises contained
        herein and other good and valuable consideration, and subject to entry of the Confirmation Order
        (as defined herein), the Parties agree as follows:

                                              ARTICLE I
                                      PURCHASE AND SALE OF ASSETS

                1.1     Acquisition of Assets. Subject to and upon the terms and conditions set forth in
        this Agreement and subject to the approval of the Bankruptcy Court, on the Closing Date, Sellers
        shall (and shall cause their Affiliates to) sell, convey, transfer, assign and deliver to Purchaser, and
        Purchaser shall acquire from Sellers (and their Affiliates), all assets, properties and rights, free and
        clear of all Liens, including the following (the “Assets”):

                       (a)     Subject to Section 1.8, the leases listed on Exhibit A (the “Leases”);


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                       (b)  The stores set forth on Schedule 1 that are located on the properties subject
        to the Leases set forth on Schedule A (individually, a “Property” and collectively, the
        “Properties”);

                       (c)     All tangible personal property utilized in connection with operating the
        Businesses, including all tangible personal property and equipment located at the Properties,
        including those assets set forth on Schedule 1.1(c) (provided that the Parties agree that the Parties
        may amend such Schedule 1.1(c) following the Auction but prior to the Sale Hearing to reflect any
        changes to such Schedule) (collectively, the “Equipment”);

                      (d)    All inventory of Sellers used in connection with the Businesses, including
        any such inventory not located on the Properties (the “Inventory”);

                       (e)     To the extent possible under applicable Law, the original books and records
        of Sellers and their Affiliates (including all Tax Returns, working papers, employment and
        financial records of Sellers and their Affiliates related to the Businesses and including all such
        books and records maintained by Sellers in an electronic format) relating to the Assets or the
        Businesses (and, to the extent the original Books and Records are required by Law to be retained
        by Sellers, copies thereof) (“Books and Records”);

                        (f)    Subject to the terms of the TSA and to the extent possible under applicable
        Law,, all permits, licenses and exemptions (including any pre-1949 or pre-1995 TABC permits)
        utilized in connection with operating the Businesses, including those set forth on Schedule 1.1(f)
        (collectively, the “Permits”);

                       (g)     All rights, claims, causes of action, defenses and rights of set-off arising
        with respect to the Assets, the Assumed Contracts or the Businesses;

                       (h)     All rights in the software and intellectual property related to the operation
        of the Businesses, including all patents, trademarks, trade names, designs, social-media assets, e-
        commerce assets, URLs, customer lists, servers and data used in connection with the ownership
        and operation of the Businesses;

                      (i)     To the extent transferable, all rights under express or implied warranties
        from or rights against Sellers’ and their Affiliates’ suppliers with respect to the Assets or the
        Assumed Contracts; and

                       (j)     All of the contracts set forth on Schedule 1.1(j) (the “Assumed Contracts”).

               1.2      Excluded Assets. Notwithstanding any provision of this Agreement to the
        contrary, the Assets specifically exclude, and Sellers hereby retain and Purchaser does not acquire
        the assets set forth on Schedule 1.2 (the “Excluded Assets”). For the avoidance of doubt, the
        Excluded Assets are not being assigned, transferred, contributed or conveyed to Purchaser
        hereunder, and do not constitute Assets.

              1.3     Assignment of Assets. Subject to the terms and conditions set forth in this
        Agreement, at Closing, Sellers shall convey the Assets to Purchaser pursuant to the terms of one
        or more assignments and bills of sale in substantially the form set forth on Exhibit B attached

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        hereto (the “Assignments”). Such Assignments shall be signed by the appropriate Seller(s) and,
        to the extent required by the Leases, the respective landlords evidencing their consent to the
        Assignments, such Assignments to be effective on a Property by Property basis upon Purchaser’s
        receipt of a TABC license for the respective Property.

               1.4    Payment of Rent Prior to Effective Date of Assignments. Sellers shall pay all
        rent due under the Leases to the landlords under the leases on or before the Closing Date. After
        Closing, Purchaser shall pay all rent due under the Leases to the landlords related to any post-
        Closing periods.

                1.5     Purchaser Access to Properties After Closing. At Closing, Purchaser shall
        immediately be given access, including all keys and security codes for security systems for access,
        to all Properties.

                 1.6     Assumed Liabilities and Excluded Liabilities. On the Closing Date, Purchaser
        shall assume, and agree to pay, perform, fulfill and discharge, all of the liabilities and obligations
        associated with the Assets arising from and after the Closing Date (the “Assumed Liabilities”).
        All liabilities and obligations of Sellers and their Affiliates other than the Assumed Liabilities are
        collectively referred to as the “Excluded Liabilities.” Notwithstanding anything in this Agreement
        to the contrary: (a) Purchaser does not assume (or intend to assume) or agree to pay, perform,
        fulfill or discharge any Excluded Liabilities; and (b) all Excluded Liabilities shall be retained by
        Sellers or the other Persons liable for such obligations. Without limiting the generality of the
        foregoing, the Excluded Liabilities expressly include: (x) Taxes of Sellers and Taxes related to any
        period prior to the Closing Date, whether or not included in any Tax Return; (y) all liabilities
        relating to or arising out of the Excluded Assets; and (z) all liabilities and amounts related to the
        Businesses and the Assets arising prior to the Closing Date.

                1.7      Post-Closing Assurances. Sellers shall hold in trust for the benefit of, and
        immediately pay to, Purchaser any amounts that shall be received by Sellers or any of Sellers’
        Affiliates after the Closing Date that constitute Assets. Purchaser shall hold in trust for the benefit
        of, and immediately pay to Sellers, any amounts that shall be received by Purchaser or any of
        Purchaser’ Affiliates after the Closing that constitute Excluded Assets.

                1.8     New Leases. Prior to Closing, Purchaser shall, in its sole and absolute discretion,
        have the right to reject any Lease covering any Property (for any reason or without reason), decline
        to acquire same as part of the Transaction and negotiate a new lease with the landlord of any
        affected Property (each a “New Lease”). In the event Purchaser elects to negotiate a New Lease,
        Purchaser may (a) delay Closing until such time as the New Lease is executed, or (b) proceed to
        Closing and acquire all Assets other than the rejected Lease. Sellers shall use their commercially
        reasonable efforts to assist Purchaser’s efforts to negotiate and execute any New Lease; provided,
        however, Sellers shall not be required to incur any cost or expense in Purchaser securing a New
        Lease.




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                                                 ARTICLE II
                                               PURCHASE PRICE

                2.1      Purchase Price. The consideration for the sale by Sellers to Purchaser of the
        Assets shall be Seven Million and 00/100 Dollars ($7,000,000), subject to adjustment, if any, as
        set forth in this Agreement.

               2.2     Purchase Price Adjustment. The Purchase Price shall be adjusted at Closing as
        follows:

                      (a)    If the employment of any employee identified on Schedule 2.2(a) (each a
        “Key Employee”) terminates at or prior to Closing, the Purchase Price shall be reduced by an
        amount equal to [$_____] per terminated Key Employee.

                         (b)    If Purchaser, in its sole and absolute discretion, determines any Assets are
        lost, destroyed, damaged, stolen, inoperative or not in good working order (any such Asset being
        a “Deficient Asset”), then the Purchase Price shall be reduced by an amount equal to (A) in the
        case of a lost, destroyed or stolen Deficient Asset, an amount equal to the fair market value of such
        Deficient Asset (in original, unblemished condition), and (B) in the case of a damaged Deficient
        Asset or a Deficient Asset that is not in good working order, the lesser of (1) the actual cost to
        repair such Deficient Asset, or (2) the fair market value of such Deficient Asset (in original,
        unblemished condition); provided, however, the Purchase Price reduction calculated pursuant to
        this Section 2.2(b) shall be reduced by an amount equal to any insurance proceeds received by
        Purchaser related to such Deficient Asset.

                       (c)     The Purchaser Price shall be reduced by an amount equal to the estimated
        dollar value of any outstanding and unused or collected gift cards related to the Businesses as of
        the Closing Date, if any (such dollar amount being the “Gift Card Liability Amount”).

                2.3     Calculation of Estimated Adjusted Purchase Price. Not less than three (3)
        Business Days prior to the Closing Date, Sellers shall deliver to Purchaser a certificate executed
        by Sellers setting forth Sellers’ calculation of the Adjusted Purchase Price pursuant to Section 2.2
        and each component relating to such calculation. Sellers’ calculation of the Adjusted Purchase
        Price shall be prepared and determined as of the Closing Date and prepared in good faith on a basis
        consistent with the historical accounting methodologies and principals applied by Sellers. Prior to
        or on the Closing Date, Purchaser and Sellers shall agree upon any adjustments to the Purchase
        Price in accordance with the terms of this Agreement (such adjustments being the “Adjusted
        Purchase Price”).

                                       ARTICLE III
                   HOLDBACK; CALCULATION OF FINAL ADJUSTED PURCHAS PRICE

                3.1     Purchase Price Holdback. At the Closing, Purchaser shall withhold from the
        payment of the Adjusted Purchase Price the total sum of $335,000 (the “Holdback Amount”),
        which shall consist of the following: (a) $300,000 shall be withheld funds relating to the Inventory
        valuations (the “Inventory Holdback”), and (b) $35,000 shall be withheld funds relating to the gift
        card valuations (the “Gift Card Holdback”). Said amounts shall be withheld and released in
        accordance with the terms of this Agreement.

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                 3.2     Post-Closing Calculation of Inventory and Gift Card Liability. In connection
        with Purchase Price adjustments pursuant to Section 2.2 and Section 2.3, after Closing, the Parties
        shall further adjust the Purchase Price to account for variances in Inventory values and gift card
        liability in accordance with this Section 3.2 and Section 3.3:

                        (a)    Within 90 days following the Closing, Purchaser shall conduct a physical
        inventory of the Inventory conveyed at Closing and all outstanding and unused or collected gift
        cards relating to the Businesses as of the Closing Date and shall deliver to Sellers a certificate (the
        “Post-Closing Certificate”) executed by Purchaser setting forth Purchaser’s calculation of (i) the
        value of the Inventory as of the Closing Date (the “Closing Inventory Value”), (ii) the value of
        any outstanding and unused or collected gift cards related to the Businesses as of the Closing Date
        (the “Closing Gift Card Liability Amount”), and (iii) any increases or decreases to the Purchase
        Price resulting from any differences between (A) the Target Inventory Value and the Closing
        Inventory Value, and (B) the Gift Card Liability Amount and the Closing Gift Card Liability
        Amount.

                        (b)   If the Target Inventory Value is less than the Closing Inventory Value, the
        dollar amount of any such deficiency shall be the “Inventory Increase Amount.” If the Target
        Inventory Value is greater than the Closing Inventory Value, the dollar amount of any such excess
        shall be the “Inventory Decrease Amount.”

               3.3    Release of Holdback Amount. Within ten (10) Business Days of receiving the
        Post-Closing Certificate, Purchaser and Sellers shall agree upon the manner in which the Holdback
        Amount shall be released and tender to the other Party any payments due and owing to such Party
        in accordance with this Section 3.3.

                       (a)   The Parties shall adjust the Adjusted Purchase Price (i) upward by the
        Inventory Increase Amount, or (ii) downward by the Inventory Decrease Amount.

                               (i)     If there is an Inventory Increase Amount, the amount of such
                       increase shall be released from the Inventory Holdback to Sellers. If the Inventory
                       Increase Amount exceeds $300,000, Purchaser shall pay such excess dollar amount
                       to Sellers.

                              (ii)   If there is an Inventory Decrease Amount, the amount of such
                       decrease shall be retained by Purchaser from the Inventory Holdback. If the
                       Inventory Decrease Amount is less than $300,000, then the difference between
                       $300,000 and Inventory Decrease Amount shall be released to Sellers. If the
                       Inventory Decrease Amount exceeds $300,000, Sellers shall pay such excess dollar
                       amount to Purchaser.

                        (b)    The Parties shall adjust the Adjusted Purchase Price downward for any
        positive difference between the Closing Gift Card Liability Amount and the Gift Card Liability
        Amount. The amount of such decrease shall be retained by Purchaser from the Gift Card
        Holdback. If the amount of such Purchase Price decrease is less than $35,000, then the difference
        between $35,000 and the Purchase Price decrease shall be released to Sellers. If the amount of



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        any such Purchase Price decrease exceeds $35,000, Sellers shall pay such excess dollar amount to
        Purchaser.

        The Parties agree that this Section 3.3 shall be the sole and exclusive post-Closing remedy
        regarding the manner in which the Purchase Price is adjusted for Inventory and Gift Card liability
        valuations.

                                            ARTICLE IV
                              INSURANCE, INDEMNITY AND RISK OF LOSS

                4.1     Insurance on Properties. Sellers shall continue to maintain insurance for the
        Assets until the effective date of the Assignments, and risk of loss of the Assets remains with
        Sellers prior to the effective date of the Assignments. Purchaser shall be responsible for insurance
        for the Assets in accordance with the Leases after the effective date of the Assignments.

                4.2     Indemnity Prior to Effective Date of Assignments. Sellers shall indemnify and
        hold Purchaser harmless from and against any costs, damages, liabilities, losses, expenses, Liens
        or claims (including, without limitation, court costs and reasonable attorneys’ fees and
        disbursements) relating to any event, act, omission or incident relating to the Assets prior to the
        effective date of the Assignments.

               4.3     Survival. The Parties agree that this ARTICLE IV shall survive the Closing or the
        termination of this Agreement.

                                                    ARTICLE V
                                                      TAXES

                 5.1    Sellers’ Obligations. Sellers shall be responsible for all real and personal property
        Taxes relating to the Properties and any personal property, inventory or Equipment at the
        Properties accruing prior to the effective date of the Assignments. Sellers shall be responsible for
        all sales Taxes related to the operation of the Businesses until the effective date of the Assignments.

                5.2    Purchaser’s Obligations. Purchaser shall be responsible for all real and personal
        property Taxes relating to the Properties and any personal property, inventory or Equipment at the
        Properties accruing after the effective date of the Assignments. Purchaser shall be responsible for
        all sales Taxes related to the operation of the Businesses and sales after the effective date of the
        Assignments.

                                        ARTICLE VI
                        REPRESENTATIONS, WARRANTIES AND COVENANTS

               6.1    Representations and Warranties of Sellers. Sellers hereby jointly and severally
        make the following representations and warranties to Purchaser as of the Closing Date:

                        (a)    Seller Organization. Each Seller has been duly organized and is validly
        existing under the laws of the state in which such Seller was organized, and is authorized to conduct
        the business in which it is now engaged in the State of Texas. Subject to the provisions and
        approvals set forth herein, each Seller has all requisite power and authority to enter into this

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        Agreement and the other documents and instruments to be executed and delivered by such Seller
        and to carry out the transactions contemplated hereby and thereby.

                        (b)    Authorization and Binding Obligation. Sellers’ execution, delivery and
        performance of this Agreement and the transactions contemplated herein have been and will be
        duly and validly authorized by all necessary action on the part of Sellers. This Agreement has
        been duly signed and delivered by Sellers and constitutes the legal, valid and binding obligations
        of Sellers, enforceable in accordance with its terms.

                       (c)     Absence of Violation, Conflicting Agreements. The execution and
        delivery of, and the performance by Sellers of their obligations under this Agreement do not, and
        will not contravene, or constitute a default under, any provision of applicable Law or any
        agreement, judgment, injunction, order, decree or other instrument binding upon Sellers or to
        which the Assets is subject, or result in the creation of any Lien on any Assets.

                       (d)     Pending Actions. There is no action, suit, arbitration, unsatisfied order or
        judgment, governmental investigation or proceeding pending, or to the knowledge of Sellers,
        threatened against Sellers, the Assets or Transaction, which, if adversely determined, could in any
        material way interfere with the consummation by Sellers of the Transactions.

                        (e)     Permits. Schedule 1.1(f) contains a list of all Permits that are required for
        the operation of the Business as currently conducted and as proposed to be conducted. Seller
        currently has all Permits that are required for the operation of the Business as currently conducted.
        Seller is not in default or violation (and no event has occurred that, with notice, lapse of time or
        both, would constitute a default or violation) in any material respect of any term, condition or
        provision of any Permit to which Seller is a party and, to the knowledge of Seller, there are no
        facts or circumstances that could form the basis for any such default or violation.

                       (f)    Brokers and Financial Advisors. To the knowledge of Sellers, there is no
        broker or finder who has claimed or who has the right to claim any fee, commission or other similar
        compensation by or through Sellers or any of their Affiliates in connection with the transaction
        contemplated by this Agreement that is to be separately paid or otherwise borne, in whole or in
        part, by Purchaser.

                       (g)     Existence of Leases and Absence of Breach. The Leases are valid,
        existing and in effect, all rents and other payments due under such Leases through the Closing
        Date are current and shall have been paid by Sellers at or prior to Closing, and there has been no
        material breach by Sellers of such Leases that shall have not been cured prior to Closing and
        assignment of the Leases to Purchaser pursuant to this Agreement.

                       (h)     Title to Owned Property. Sellers have clear, fee simple title to the
        Properties to be leased to Purchaser pursuant to the Leases.

                        (i)    Title to Assets and Absence of Liens. After giving effect to the
        Confirmation Order, (i) Sellers shall have good title to the Assets owned by them and used in
        connection with the Businesses at the Properties, and (ii) the sale and assignment of the Assets to
        Purchaser pursuant to this Agreement shall be free and clear of all Liens, claims and encumbrances
        asserted or that could be asserted with respect to such Assets.

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                       (j)    Material Contracts.

                                (i)     Sellers have made available to Purchaser a copy of each Assumed
                       Contract, together with any and all amendments or modifications thereto through
                       and including the date of this Agreement, and each such copy is correct and
                       complete. After giving effect to the Confirmation Order, each Assumed Contract
                       is in full force and effect and is valid, binding and enforceable against Sellers and
                       their respective Affiliates, as applicable, and Sellers have not received written
                       notice of termination or unenforceability from any counterparty to any Assumed
                       Contract.

                              (ii)     Sellers and their Affiliates, as applicable, are not in material breach
                       or default of any Assumed Contract and, to the knowledge of Sellers, no other party
                       to any Assumed Contract is in material breach or default thereof and Sellers have
                       not received (A) any claim of, or notice of claim of, breach, violation or default
                       under any Assumed Contract or (B) any notice of termination or cancellation of any
                       Assumed Contract.

                        (k)     Insurance. The insurance policies that are owned or maintained by Sellers
        with respect to the Assets are described on Schedule 6.1(k). All of such insurance policies are in
        full force and effect, and all premiums therefor payable for periods prior to the Closing Date have
        been fully paid. No notice of cancellation of, or indication of an intention not to renew, any such
        insurance policy has been received by Sellers. No event has occurred nor does any fact or
        condition exist that would render any insurance policy void or voidable or subject any of such
        policies to cancellation or termination.

                        (l)     Labor and Employment Matters. No employees of Sellers have been or
        are represented by a union or other labor organization or covered by any agreement with a union
        or labor organization, including a collective bargaining agreement. There is no campaign to
        establish such representation. There is no pending or threatened labor dispute involving the
        Businesses and any of their employees, nor have the Businesses experienced any significant labor
        interruptions over the past five years. There are no pending or threatened labor disputes or other
        material that threaten the success of the Businesses.

                        (m)     TABC Exemption. As of April 28, 1995, GIG was a public corporation as
        defined by Section 22.16 of the TABC Code that (i) held a package store permit on April 28, 1995,
        or (ii) had an application pending for a package store permit on April 28, 1995. GIG provided to
        the TABC on or before December 31, 1995, a sworn affidavit stating that GIG satisfied the
        requirements of Section 22.16(f) of the TABC Code.

               6.2     Representations and Warranties of Purchaser. Purchaser hereby makes the
        following representations and warranties to Sellers as of the Closing Date:

                        (a)    Organization and Authority. Purchaser has been duly organized and is
        validly existing under the laws of the State of [_________]. Purchaser has all requisite corporate
        power and authority to enter into this Agreement and the other documents and instruments to be



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        executed and delivered by Purchaser and to carry out the transactions contemplated hereby and
        thereby.

                       (b)    Authorization and Binding Obligation. Purchaser’s execution, delivery
        and performance of this Agreement and the transactions contemplated herein have been and will
        be duly and validly authorized by all necessary action on the part of Purchaser. This Agreement
        has been duly signed and delivered by Purchaser and constitutes the legal, valid and binding
        obligations of Purchaser, enforceable in accordance with its terms.

                       (c)     Absence of Violation; Conflicting Agreements. The execution and
        delivery of, and the performance by Purchaser of its obligations under this Agreement do not, and
        will not contravene, or constitute a default under, any provision of applicable Law or any
        agreement, judgment, injunction, order, decree or other instrument binding upon Purchaser or to
        which the Property is subject, or result in the creation of any Lien or other encumbrance on any
        asset of Purchaser.

                       (d)     Pending Actions. There is no action, suit, arbitration, unsatisfied order or
        judgment, governmental investigation or proceeding pending or, to the knowledge of Purchaser,
        threatened against Purchaser or the Transaction, which, if adversely determined, could in any
        material way interfere with the consummation by Purchaser of the Transaction.

                        (e)     Brokers and Financial Advisors. No Person has acted, directly or
        indirectly, as a broker, finder or financial advisor for Purchaser, or has the right to claim any fee,
        commission or other similar compensation by or through Purchaser in connection with the
        transactions contemplated by this Agreement.

                6.3   Covenants of Sellers. Except as contemplated by this Agreement or with the prior
        written consent of Purchaser, Sellers hereby covenant and agree:

                       (a)     not to sell, transfer or further encumber any of the Assets;

                       (b)     to notify Purchaser in writing of the commencement or assertion of any
        material claim, suit, action, arbitration, legal, administrative or other proceeding, governmental
        investigation or tax audit against the Sellers or the Assets, which, if adversely determined, could
        have a material effect on the Assets or Sellers’ ability to consummate the Transactions;

                       (c)     to use reasonable efforts to operate and maintain the Businesses and
        Properties in a manner generally consistent with the manner in which it has been operated and
        maintained prior to the Closing Date;

                       (d)   to cause to be paid all ad valorem, personal property and sales Taxes due
        and payable with respect to the Assets or the operation of the Businesses in accordance with the
        terms of this Agreement;

                      (e)    not to remove or permit to be removed any of the Assets, and to return any
        such Assets removed from the Properties prior to the date of this Agreement;

                       (f)     not to terminate any Key Employees;

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                         (g)    to maintain the insurance required by this Agreement through the applicable
        dates;

                       (h)     to obtain an Order of the Bankruptcy Court approving this Agreement and
        transaction pursuant to section 363 of the Bankruptcy Code, providing that the sale and assignment
        of the Assets to Purchaser pursuant to this Agreement shall be free and clear of all Liens, claims
        and encumbrances, if any, asserted or that could be asserted with respect to such Assets, and that
        any such Liens, claims or encumbrances, if any, shall only attach to the proceeds of the sale
        received by Sellers and not the Assets sold and assigned to Purchaser pursuant to this Agreement;
        and

                       (i)     to pay any fees, compensation or the like owed to any broker or finder who
        has claimed or who has the right to claim any fee, commission or other similar compensation by
        or through Sellers or any of their Affiliates in connection with the transaction contemplated by this
        Agreement.

                6.4     Covenant of Purchaser. Except as contemplated by this Agreement or with the
        prior written consent of Sellers, commencing as of the Closing Date, Purchaser hereby covenants
        and agrees to exercise reasonable diligence in obtaining its TABC licenses to operate liquor stores
        at the Properties.

                   6.5   Joint Covenants.

                        (a)     Sellers and Purchaser shall use their commercially reasonable efforts to
        (a) take all actions necessary or appropriate to consummate the Transactions, and (b) cause the
        fulfillment at the earliest practicable date of all of the conditions to their respective obligations to
        consummate the Transactions. At and after the Closing, Purchaser and Sellers will, without further
        consideration, execute and deliver such further instruments and documents and do such other acts
        and things that the other party may reasonably request in order to effect or confirm the transactions
        contemplated by this Agreement.

                       (b)     Sellers shall afford to Purchaser, and to the accountants, counsel, advisors,
        potential financing sources and representatives of Purchaser, reasonable access during normal
        business hours throughout the period prior to the Closing Date to all Assets, Available Employees,
        customers, suppliers, agents, files and Books and Records of the Businesses and, during such
        period, shall furnish promptly to Purchaser all other information concerning the Businesses as
        Purchaser may reasonably request. Following the Closing, to the extent Purchaser reasonably
        requests, Sellers shall provide Purchaser and its representatives with access to any Books and
        Records of the Businesses in Sellers’ possession for so long as such records are required to be
        retained.

                        (c)      Seller shall use its best efforts, and Purchaser shall cooperate with Seller, to
        obtain at the earliest practicable date, all consents and approvals contemplated hereby. Purchaser
        and Seller shall use their commercially reasonable efforts to obtain the issuance, or transfer of, all
        Permits required to be issued, transferred or reissued to Purchaser in connection with the
        acquisition of the Assets and the operation of the Businesses by Purchaser after the Closing Date.
        Seller shall use its best efforts, and Purchaser shall use its commercially reasonable efforts to give


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        and make all notices and reports that Seller or Purchaser is required to make to the appropriate
        governmental body and other persons in respect of the Permits that may be necessary for the sale
        of the Assets to Purchaser at the Closing.

                   6.6   Employee Matters.

                      (a)     For purposes of this Agreement, “Available Employees” shall mean all
        employees of Sellers.

                        (b)     Not later than fifteen (15) days prior to the Closing Date, Purchaser shall
        tender to the Available Employees it desires to retain (the “Offered Employees”), a written offer
        of employment (the date of such written offer, the “Employment Offer Date”), which shall be
        subject to: (i) the Closing occurring; and (ii) Purchaser’s customary pre-employment screening
        process and standard terms and conditions of employment. Each Offered Employee shall have at
        least five (5) Business Days in which to accept or reject Purchaser’ offer of employment. An
        Offered Employee who accepts Purchaser’ offer of employment (each, a “Continuing Employee”)
        in writing shall, subject to the conditions set forth above, become an employee of Purchaser as of
        the Closing Date. Notwithstanding anything contained herein to the contrary, the Continuing
        Employees shall be “employees at will” and nothing in this Section 6.6 shall limit the ability of
        Sellers or Purchaser to terminate the employment of any Available Employee or Continuing
        Employee or to revise or terminate any employee benefit plan, program or policy from time to
        time.

                        (c)     Sellers will retain responsibility for and continue to pay all hospital,
        medical, life insurance, disability and other welfare benefit plan expenses and benefits for each
        Continuing Employee with respect to claims incurred by such Continuing Employee or such
        Continuing Employee’s covered dependents prior to the Closing Date. All hospital, medical, life
        insurance, disability and other welfare benefit plan expenses and benefits with respect to claims
        incurred by any Continuing Employee on or after the Closing Date shall be Purchaser’s
        responsibility in accordance with the terms of any benefit plan maintained by Purchaser for the
        Continuing Employees. The Continuing Employees and their eligible dependents who were
        participants in Sellers’ group health and other welfare benefits immediately prior to the Closing
        shall become participants in the group medical and welfare benefits offered by Purchaser as of the
        Closing Date.

                       (d)     As of the Closing Date, with respect to the Continuing Employees,
        Purchaser shall assume liability for Sellers’ obligations under the Consolidated Omnibus Budget
        Reconciliation Act of 1985 (“COBRA”), including the obligation, if any, to provide notice and
        continuation of coverage to any covered employee or qualified beneficiary (as such terms are
        defined in section 4980(f) of the Tax Code) who is a Continuing Employee or has a qualifying
        event (as defined in section 4980(f) of the Tax Code) incident to the transactions contemplated by
        this Agreement.

                        (e)   Nothing contained herein express or implied is intended to (i) confer upon
        any current or former employee of Sellers or Purchaser any right to employment or continued
        employment for any period of time by reason of this Agreement, or any right to a particular term
        or condition of employment; or (ii) is intended to confer upon any individual (including employees,


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        retirees, or dependents or beneficiaries of employee or retirees) any right as a third-party
        beneficiary of this Agreement.

                   6.7   Noncompetitive Covenants.

                        (a)      Prohibited Activities by Sellers and Noncompete Persons. As additional
        consideration for the Purchase Price, Sellers, their Affiliates and the Noncompete Persons will not,
        directly or indirectly, for themselves or on behalf of or in conjunction with any third Person:

                                  (i)     during the four (4) year period after the Closing date (the
                         “Noncompete Term”) engage in any capacity, whether as a manager, member,
                         shareholder, owner, partner (limited or general), joint venturer, or otherwise, or in
                         any managerial or advisory capacity, whether as an independent contractor,
                         consultant, advisor, sales representative, or otherwise, in any liquor store, package
                         store, liquor distribution center or any business or venture that directly or indirectly
                         competes with the Businesses (each a “Competitive Business”) in any county in
                         which any of the Businesses or Assets are located (the “Territory”);

                                 (ii)    at any time from and after the Closing, directly or indirectly, use,
                         attempt to use, interfere with, or allow any third Person to use, attempt to use or
                         interfere with, the Permits or Purchaser’s use of the Permits;

                                 (iii) during the Noncompete Term, solicit or attempt to induce any
                         Person who is, at that time, or who has been, within six months prior to that time,
                         an employee or consultant of Purchaser to become an employee of Seller or any of
                         its Affiliates; provided, however, nothing herein contained shall prevent Sellers,
                         their Affiliates or the Noncompete Persons from general solicitations for employees
                         consistent with past practices; or

                                  (iv)  during the Noncompete Term, call upon any Person which is, at that
                         time, or which has been, within one year prior to that time, a customer of Sellers,
                         Purchaser or any Affiliates of such Parties within the Territory for the purpose of
                         soliciting or selling services or products of a Competitive Business within the
                         Territory.

        Section 6.7(a) shall not be deemed to prohibit Sellers, their Affiliates or the Noncompete Persons
        from acquiring, as a passive investor with no involvement in the operation of the business, not
        more than one percent of the capital stock of a Competitive Business the stock of which is publicly
        traded on a national securities exchange, The Nasdaq Stock Market or over-the-counter.

                       (b)     Equitable Relief. Because of the difficulty of measuring economic losses
        to Purchaser as a result of a breach of the covenants in this Section 6.7, because a breach of
        covenants set forth in Section 6.7 would diminish the value of the Assets and business of Sellers
        being sold pursuant to this Agreement, and because of the immediate and irreparable damage that
        could be caused to Purchaser, as applicable, for which it would have no other adequate remedy,
        Sellers and the Noncompete Persons agree that the covenants in this Section 6.7 may be enforced
        against them by injunctions, restraining orders and other equitable actions, in all cases without the
        need to prove actual damages and without the need to post any bond or other form of security.

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        Nothing herein shall be construed as prohibiting Purchaser from pursuing any other available
        remedy for such breach or threatened breach, including the recovery of damages.

                        (c)    Reasonable Restraint. Sellers and the Noncompete Persons agree that the
        covenants in Section 6.7 are necessary in terms of time, activity and territory to protect Purchaser’s
        interest in the Assets and Businesses being acquired pursuant to this Agreement and impose a
        reasonable restraint on Sellers and the Noncompete Persons in light of the activities and businesses
        of Sellers and the Noncompete Persons on the date of the execution of this Agreement and the
        current plans of Sellers and the Noncompete Persons.

                        (d)    Severability; Reformation. The covenants in this Section 6.7 are
        severable and separate, and the unenforceability of any specific covenant shall not affect the
        continuing validity and enforceability of any other covenant. If any court of competent jurisdiction
        shall determine that the scope, time or territorial restrictions set forth in this Section 6.7 are
        unreasonable and therefore unenforceable, Purchaser, Sellers and the Noncompete Persons intend
        that such restrictions be enforced to the fullest extent that the court deems reasonable and this
        Agreement shall thereby be reformed.

                       (e)    Material and Independent Covenant. Sellers and the Noncompete
        Persons acknowledge that their agreements and the covenants set forth in this Section 6.7 are
        material conditions to Purchaser’s agreements to execute and deliver this Agreement and other
        ancillary agreements and to consummate the transactions contemplated hereby and thereby and
        that Purchaser would not have entered into this Agreement and the other ancillary agreements
        without such covenants. All of the covenants in Section 6.7 shall be construed as an agreement
        independent of any other provision in this Agreement and the other ancillary agreements.

                6.8      Conduct of Business. From the date of this Agreement until the Closing Date,
        except as expressly contemplated by this Agreement or as otherwise consented to by Purchaser in
        writing (such consent not to be unreasonably withheld or delayed), Sellers shall (and shall cause
        their Affiliates to) conduct the Businesses in the ordinary course consistent with past practice and
        shall make commercially reasonable efforts to preserve intact the Businesses and (solely with
        respect to the Businesses) the relationships of Sellers with their counterparties to the Assumed
        Contracts, suppliers and other Persons having material business relationships with the Sellers in
        connection with the Business and to preserve, maintain and protect the Assets. Without limiting
        the generality of the foregoing, Sellers shall (and shall cause their Affiliates to): (a) maintain and
        keep the Assets which are tangible assets in substantially as good repair, working order and
        condition as immediately prior to the date of this Agreement, except for depreciation due to
        ordinary wear and tear; (b) keep in full force and effect all Permits and all insurance applicable to
        the Assets comparable in amount and scope of coverage to that maintained immediately prior to
        the date of this Agreement; (c) comply in all material respects with all applicable requirements of
        law, rules, regulations, orders, ordinances and directives, whether federal, state, local, foreign,
        exchange or self-regulatory organization; (d) use commercially reasonable efforts not to take, or
        fail to take, any action which would result in a breach of any of the warranties or a material
        inaccuracy in any of the representations contained in Section 6.1 or a failure of any of the Closing
        conditions set forth in Section 9.1 to be satisfied; (e) not subject to any Lien any of the Assets or
        grant any interest in, right to or any license of, any of the Assets; (f) not make any material change
        in any method of accounting, keeping of books of account or accounting practices or in any

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        material method of Tax accounting of Sellers or any of their subsidiaries unless required by a
        concurrent change in GAAP or applicable Law or upon prior written notice to Purchaser, in order
        to comply with any GAAP requirements or Financial Accounting Standards Board interpretations
        or in order to comply with the view of Sellers’ independent auditors; and (g) not enter into any
        agreement or make any commitment to take any of the type of action prohibited in this sentence.
        BANKRUPTCY MATTERS

                7.1     Bid Procedures. On or before March 9, 2020, Sellers shall file a motion with the
        Bankruptcy Court, in form and substance reasonably satisfactory to Purchaser, requesting entry of
        the Bidding Procedures Order (the “Bidding Procedures Motion”). The Bidding Procedures
        Motion shall seek to secure entry of the Bidding Procedures Order by March 12, 2020. The
        Bidding Procedures Order shall (a) schedule a hearing to confirm the chapter 11 plan authorizing
        the sale proposed in this Agreement and the acquisition of the GIG equity interests (the “Plan”)
        no later than April 30, 2020 (the “Confirmation Hearing”), and (b) approve certain bid
        protections, including, among others, the following (“Bid Protections”):

                       (a)    Hearing on Bid Procedures. The Bidding Procedures Motion shall seek
        to schedule the hearing to approve the Bidding Procedures Order no later than March 16, 2020;

                       (b)    Notice, Qualified Bids, Etc. The Bidding Procedures Order must establish
        notice requirements of the Plan and bid procedures that are satisfactory to Purchaser;

                       (c)     Cure Notice and Dispute Procedures. The Bidding Procedures Order
        must establish cure-claim notice and dispute procedures relating to the assumption and sale and
        assignment of Assumed Contracts that are satisfactory to Purchaser. Sellers shall serve on all
        counterparties to all contracts and leases that may be designated by Purchaser as an Assumed
        Contract a notice specifically stating that Sellers are or may be seeking the assumption and
        assignment of those contracts and leases and shall notify such parties of the deadline for objecting
        to the amounts listed on that notice, which deadline shall not be less than twenty (20) days prior to
        the Confirmation Hearing. If Sellers are unable to establish that a default exists, the proposed Cure
        Cost shall be $0.00.

                      (d)      Plan Incorporation. The Bidding Procedures Order must provide that its
        terms and conditions, including Bid Protections, will be incorporated in the Plan.

                7.2      Stalking Horse Fee. Sellers acknowledge that (a) Purchaser made and will
        continue to make a substantial investment of management time and incurred substantial out-of-
        pocket expenses in connection with the negotiation and execution of this Agreement and the
        Transaction, its due diligence of Seller’s business and assets, and Seller and its effort to
        consummate the transactions contemplated hereby, (b) Purchaser’s efforts have substantially
        benefitted and will continue to substantially benefit Sellers and the bankruptcy estate through the
        submission of the offer that is reflected in this Agreement and Plan and that will serve as the
        minimum bid on which other potential interested bidders can rely, thus increasing the likelihood
        that the price at which the Assets are sold will reflect its true worth, and (c) the Stalking Horse Fee
        and other Bid Protections identified in this Agreement, the Bidding Procedures Motion, and the
        Plan are necessary to induce Purchaser to make the offer in this Agreement to purchase the
        Acquired Assets and must be approved by the Bankruptcy Court. Therefore, in consideration and


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        as compensation for the value provided to Sellers and the bankruptcy estates by Purchaser,
        Purchaser will be entitled to receive from Sellers a flat-fee payment (not dependent on amounts
        actually expended or incurred by Purchaser) in cash or other immediately available good funds in
        an amount equal to $300,000 (the “Break Up Fee”), plus $75,000 as reimbursement for
        Purchaser’s expenses in connection with this Agreement (the “Expense Reimbursement”; and
        together with the Break Up Fee, the “Stalking Horse Fee”) if Purchaser is not the Purchaser of the
        Assets and the Plan is not confirmed.

                7.3    Timing and Priority of Stalking Horse Fee. The Bidding Procedures Motion
        shall seek Bankruptcy Court approval of payment of the Stalking Horse Fee. The Break Up Fee
        and the Expense Reimbursement shall both be entitled to administrative-expense priority (§§
        503(b)(1)(A) and 507(a)), senior to all administrative expenses allowable, other than super-priority
        administrative claims of PNC Bank, N.A. for failed adequate protection, and payable to the
        Purchaser if the Purchaser is not the Purchaser of the Assets and the Plan is not confirmed. The
        Break Up Fee and the Expense Reimbursement shall be subordinate to PNC Bank N.A.’s
        outstanding secured and super-priority administrative claims for failed adequate protection.

               7.4      Minimum Initial Overbid. The Bidding Procedures Motion shall seek
        Bankruptcy Court approval that no bid or bids shall be a Qualified Bid, or otherwise considered
        by Sellers for any purpose, unless (a) the total consideration to be paid to Sellers for the Acquired
        Assets is in an amount that is greater than (i) the sum of the Purchase Price, plus the Break Up
        Fee, plus the Expense Reimbursement, plus $125,000 (collectively the “Initial Overbid”), (b) all
        overbids after the Initial Overbid are in increments equal to $100,000, and (c) such bids are
        otherwise on terms no less favorable to Sellers than those set forth in this Agreement.

                7.5     Deposit. If Purchaser completes its due diligence to Purchaser’s reasonable
        satisfaction, then on or before April 1, 2020 (the “Deposit Date”), Purchaser shall deposit One
        Hundred Thousand and no/100 dollars ($100,000.00) (the “Earnest Money Deposit”) to a third
        party escrow agent approved in writing by Purchaser. If the sale is consummated pursuant to the
        terms and conditions of this Agreement, at Closing the Earnest Money Deposit and all interest
        earned thereon shall be paid to Sellers and applied to the Purchase Price. If either Seller or Buyer
        terminates this Agreement in accordance with any right to terminate granted by this Agreement,
        the Earnest Money Deposit and all interest accrued thereon shall be immediately disbursed in
        accordance with the terms and conditions of this Agreement.

               7.6   Good-Faith Finding, etc. The order approving this Agreement and the Plan (the
        “Sale/Confirmation Order”) must contain, among other things, the following provisions:

                         (a)    Finding that (i) notice of the Plan was proper and sufficient under the
        Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Bankruptcy Court’s Local
        Bankruptcy Rules, (ii) Sellers and Purchaser entered in this Agreement in good faith and at arm’s
        length, (iii) the consideration paid by Purchaser in this Agreement and the Plan constitutes fair
        value in consideration for the Assets, and (iv) Purchaser is a good-faith purchaser entitled to the
        protections afforded by section 363(m) of the Bankruptcy Code concerning the transactions
        contemplated in this Agreement;




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                        (b)     Authorizing the Purchaser to acquire the equity ownership interests in GIG
        free and clear of all Liens, with all such Liens attaching to the proceeds of sale, if any;

                       (c)      Authorizing Sellers to transfer (or cause their Affiliates to transfer) to
        Purchaser all rights, title, privileges, and interests of Sellers (and their Affiliates) in and to the
        Assets free and clear of all Liens, with all such Liens attaching to the proceeds of sale, if any;

                       (d)    Authorizing Sellers to assume and sell, transfer, and assign the Assumed
        Contracts to Purchaser pursuant to the Bankruptcy Code;

                         (e)     Finding that Purchaser is not a successor to Sellers, their Affiliates or
        Sellers’ or their Affiliates’ bankruptcy estates by reason of any theory of law or equity with respect
        to any Lien against Sellers, their Affiliates, Sellers’ or their Affiliates’ estates or any Acquired
        Asset;

                       (f)     Finding that the debts owed by the Debtors are discharged; and

                       (g)    Establishing the Cure Costs, if any, with respect to curing any defaults or
        actual pecuniary losses under or with respect to the Assumed Contracts.

                7.7     Miscellaneous. Should overbidding on the Assets take place, Purchaser shall have
        the right, but not the obligation, to participate in the overbidding. Notwithstanding anything to the
        contrary, if Purchaser is not the purchaser of the Assets and the Plan is not approved, Purchaser
        shall still be entitled to the Stalking Horse Fee. Purchaser shall have the right to credit bid the
        amount of the Stalking Horse Fee as part of any bid made by Purchaser. If there is a credit bid (the
        “Credit Bid”) for the Assets by a third party, then the Credit Bid shall have a cash component
        equal to the sum of the Break Up Fee and the Expense Reimbursement. For the avoidance of doubt,
        Purchaser shall be allowed to bid the Break Up Fee and Expense Reimbursement in any subsequent
        bids.

                7.8     Service of the Bidding Procedures Motion, etc. Sellers shall comply with all
        requirements under the Bankruptcy Code and Federal Rules of Bankruptcy Procedure in
        connection with obtaining the Sale/Confirmation Order, and serving notice of the Bidding
        Procedures Motion, the Plan, and all objections to the Bidding Procedures Motion and the Plan.
        Sellers shall serve a copy of a notice of the Bidding Procedures Motion, the Plan, and the objection
        deadlines thereto (which such notice shall be approved by Purchaser in advance) in accordance
        with the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure on all (a) Persons in the
        Chapter 11 Case who may possess or assert a Lien in or against the Acquired Assets, (b) all non-
        debtor parties to an Assumed Contract, (c) Governmental Entities, (d) all Creditors, (e) other
        Persons required by any order of the Bankruptcy Court (including any omnibus notice or case
        management order entered in the Bankruptcy Case), and (f) to the extent appointed, counsel to the
        official committee of unsecured creditors appointed in the Chapter 11 Case (the “Creditors’
        Committee”) (collectively, the “Required Creditor Notices”).

                7.9    Review and Comment of the Bidding Procedures Motion and the Plan. Sellers
        shall provide Purchaser with a copy of the Bidding Procedures Motion, the Plan, and the proposed
        order approving the Plan (the “Confirmation Order”). Sellers shall also provide Purchaser a
        reasonable opportunity to review and comment on the Bidding Procedures Motion, the Bidding

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        Procedures Order, the Plan, and the Confirmation Order; provided, however, that Purchaser shall
        have not less than seven (7) Business Days to review and comment on the Bidding Procedures
        Motion, the Bidding Procedures Order, the Plan, and the Confirmation Order. Sellers shall
        incorporate Purchaser’s comments into the Bidding Procedures Motion, the Bidding Procedures
        Order, the Plan, and the Confirmation Order.

                7.10 Cooperation. Sellers and Purchaser shall use their respective commercially
        reasonable efforts to cooperate, assist and consult with each other to secure entry of the Bidding
        Procedures Order and the Confirmation Order. If a Person seeks a stay of the Confirmation Order
        or any other orders of the Bankruptcy Court relating to this Agreement or the ancillary agreements,
        Sellers and Purchaser will cooperate reasonably in taking such steps diligently to defend against
        such stay petition and Sellers and Purchaser shall use their commercially reasonable efforts to
        obtain an expedited resolution of any such stay petition. If the Bidding Procedures Order or the
        Confirmation Order is appealed, Sellers and Purchaser shall use their respective commercially
        reasonable efforts to defend such appeal. Purchaser shall not make any filing in the Bankruptcy
        Court concerning the Bidding Procedures Motion, the Bidding Procedures Order, the Plan, or the
        Confirmation Order (or otherwise take any position in the Bankruptcy Court proceedings with
        respect thereto) that would could result in the failure of the transactions contemplated hereby. This
        Agreement and the transactions contemplated in this Agreement are subject to the approval by the
        Bankruptcy Court of (a) the Bidding Procedures Order and (b) the Confirmation Order. The
        Bidding Procedures Order and the Confirmation Order must be acceptable to Purchaser.

               7.11 Fees and Expenses. Each Party shall pay its respective legal and accounting fees
        and expenses incurred in connection with the preparation, execution and delivery of this
        Agreement and all other agreements, documents and instruments executed pursuant hereto and any
        other costs and expenses incurred by such party, except as otherwise expressly set forth in this
        Agreement. This section does not impact Purchaser’s ability to recover the Stalking Horse Fee.
        Conditions of Obligations of Purchaser Parties and Sellers. In addition to the conditions
        precedent set forth in ARTICLE IX, the respective obligations of each Party to effect the
        Transaction shall be subject to the satisfaction of the following conditions: The Bankruptcy Court
        shall have entered in the Chapter 11 Case the Confirmation Order (together with any related
        findings of fact or conclusions of law) approving this Agreement, the ancillary agreements and the
        Transaction on or before April 30, 2020.The Bidding Procedures Order and the Confirmation
        Order entered by the Bankruptcy Court are in form and substance satisfactory to Purchaser, and
        such orders shall have become final orders.

                      (c)     The Confirmation Order shall not have been vacated, stayed, amended,
        reversed and/or modified and either: (i) the time to appeal the Confirmation Order has expired
        and such order is no longer subject to appeal or further judicial review; or (ii) the Confirmation
        Order makes an express finding that Purchaser is a good-faith purchaser entitled to the benefits of
        section 363(m) of the Bankruptcy Code.

                     (d)    The Stalking Horse Fee and other Bid Protections identified in this
        Agreement and the Bidding Procedures Motion shall be approved by the Bankruptcy Court.

                    (e)    No action, suit or proceeding (including any proceeding over which the
        Bankruptcy Court has jurisdiction under 28 U.S.C. §§ 157(b) and (c)) brought by any

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        Governmental Entity or Person shall be pending that would materially alter, enjoin, restrain or
        prohibit the Transaction, or that would be reasonably likely to interfere with or make illegal the
        Transaction.

                        (f)      The Confirmation Order shall provide and declare that all right, title, and
        interest of Sellers and their Affiliates in and under the Assets and the Assumed Contracts (with the
        exception of the Assumed Contracts for which any right to consent given to a third party is
        determined by the Bankruptcy Court to be enforceable and necessary and which consent has not
        been given), upon Closing, will be transferred and assigned to, and fully and irrevocably vest in,
        Purchaser and remain in full force and effect. The Confirmation Order shall also declare and
        include or be accompanied by findings of fact and conclusions of law of the Bankruptcy Court,
        substantially on the terms set forth in this Section 7.12(f), which, among other things, shall
        determine and declare, except as would not have a material effect on the Transaction, that:

                               (i)    to the extent any objection to the Plan exists, each such objection
                       shall have been withdrawn or overruled;

                               (ii)    the terms of this Agreement, the ancillary agreements and the
                       Transaction are approved, and the execution of and performance under this
                       Agreement and the ancillary agreements by Sellers is ratified and approved, and
                       Sellers are authorized to execute and deliver any and all agreements and documents
                       and take any and all actions necessary to consummate this Agreement, the ancillary
                       agreements and the Transaction;

                            (iii) the sale of the Assets and assumption and assignment of the
                       Assumed Contracts are approved pursuant to the Bankruptcy Code;

                               (iv)    effective at the Closing, all of Sellers’ and their Affiliates’ right, title
                       and interest in and to the Assets shall be sold, conveyed, assigned, transferred and
                       delivered to Purchaser free and clear of any and all Liens and free and clear of all
                       claims of Sellers and any Affiliate of Sellers, including all claims of the estates of
                       any Affiliate of Sellers that is a debtor in a pending Chapter 11 case as of the
                       Closing Date, and including any Liens granted and imposed by the Bankruptcy
                       Court;

                               (v)    each Assumed Contract shall remain in full force and effect with
                       respect to Purchaser, any defaults of Sellers and their Affiliates thereunder (other
                       than default or breach that directly resulted from (A) the filing of the Petitions or
                       (B) violation of a financial covenant) shall have been, or Purchaser or Sellers shall
                       have provided adequate assurance that any such defaults shall be, promptly cured
                       (which defaults, as between Sellers and all parties to such Assumed Contracts other
                       than Sellers, shall for all purposes be deemed irrevocably cured by Purchaser’
                       provision of adequate assurance), and all of the Assumed Contracts, with the
                       exception of the Assumed Contracts for which any right to consent given to a third
                       party is determined by the Bankruptcy Court to be enforceable and which consent
                       has not been given, shall be assigned to Purchaser without the execution of any
                       further documents or instruments, and any provisions in any contract that prohibit


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                       or condition the assignment of such contract constitute unenforceable anti-
                       assignment provisions which are void and of no force and effect;

                               (vi)    the Bankruptcy Court retains exclusive jurisdiction to interpret,
                       construe and enforce the provisions of this Agreement and the ancillary agreements
                       and the Confirmation Order; provided, however, that, in the event the Bankruptcy
                       Court abstains from exercising or declines to exercise jurisdiction with respect to
                       any matter provided for in this clause or is without jurisdiction, such abstention,
                       refusal or lack of jurisdiction shall have no effect upon and shall not control,
                       prohibit or limit the exercise of jurisdiction of any other court having competent
                       jurisdiction with respect to any such matter;

                               (vii) the Bankruptcy Court retains jurisdiction to resolve any and all
                       disputes that may arise under this Agreement as between the Parties, and retains
                       jurisdiction to hear and determine any and all disputes between the parties hereto,
                       as the case may be, and any counterparty to, among other things, any Assumed
                       Contracts, concerning, inter alia, Sellers’ and their Affiliates’ assignment thereof
                       to Purchaser under this Agreement and any such counterparty’s claims arising
                       under any agreements relating to Excluded Liabilities;

                               (viii) all other requirements and conditions under the Bankruptcy Code
                       for the sale of the Assets by Sellers and their Affiliates to Purchaser and the
                       assumption by and assignment to Purchaser of each Assumed Contract have been
                       satisfied;

                                (ix)   upon Closing, in accordance with the Bankruptcy Code, Purchaser
                       shall be fully and irrevocably vested in all right, title and interest of each of the
                       Assets and the Assumed Contracts (with the exception of any Assumed Contract
                       for which any right to consent given to a third party is determined by the
                       Bankruptcy Court to be enforceable and which consent has not been given), and
                       that, following the Closing, each such Assumed Contract shall remain in full force
                       and effect;

                              (x)    the sale of the Assets and transfers, sale, and assignments of each
                       Assumed Contracts are in good faith under the Bankruptcy Code, including sections
                       363(b) and (m) of the Bankruptcy Code;

                              (xi)   Sellers have complied with the notice requirements of Rules 2002,
                       6004, 6006, and 9014 of the Federal Rules of Bankruptcy Procedure and any
                       applicable rules of the Bankruptcy Court with respect to the transactions
                       contemplated by this Agreement; and

                              (xii) the stays contemplated by Rules 6004(g) and 6006(d) of the Federal
                       Rules of Bankruptcy Procedure have been waived.

                                                 ARTICLE VIII
                                                  CLOSING


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                8.1     Time and Place. The closing of the purchase, sale and assignment of the Assets
        contemplated by this Agreement (the “Closing”) shall take place on the date this Agreement is
        approved by the Bankruptcy Court, currently anticipated to be April 30, 2020 (the “Closing Date”),
        unless otherwise agreed to in writing by Sellers and Purchaser. The Closing shall be deemed to
        take place at the offices of Foley & Lardner LLP, 2021 McKinney Ave., Suite 1600, Dallas, Texas
        75201, or such other place as the Parties shall mutually agree. The Parties will deliver required
        closing documents and funds by overnight delivery service, fax and wire transfers so that all signed
        documents, Assignments and rents are delivered promptly to the other Party or landlords, as
        applicable.

                8.2    Sellers’ Deliveries at Closing. At Closing, Sellers shall deliver or cause to be
        delivered to Purchaser the following:

                       (a)     Fully executed original versions of the Assignments containing signatures
        of the applicable Sellers and the landlords evidencing their consent to such Assignments; and

                        (b)     A fully executed original version of a transition services agreement in form
        substantially similar to that set forth on Exhibit C (the “TSA”).1

                8.3    Purchaser’s Deliveries at Closing. At Closing, Purchaser shall deliver or cause
        to be delivered to Sellers the following:

                       (a)     The Adjusted Purchase Price minus the Holdback Amount in immediately
        available wire transferred funds; and

                        (b)     Executed original versions of the Assignments.

                        (c)     A fully executed original version of the TSA.

                                                ARTICLE IX
                                           CONDITIONS TO CLOSING

                9.1     Conditions Precedent to Obligations of Purchaser. The obligation of Purchaser
        to consummate the Transactions shall be subject to the fulfillment on or before the Closing Date
        of all of the following conditions, any or all of which may be waived by Purchaser in its sole
        discretion:

                       (a)     Sellers shall have delivered to Purchaser all of the items required to be
        delivered to Purchaser pursuant to the terms of this Agreement, including but not limited to, those
        provided for in Section 8.2;

                     (b)      all of the representations and warranties of Sellers contained in this
        Agreement shall be true and correct in all material respects as of the Closing;




        1
          Note to draft: The TSA shall include interim management services in the event one or more Assets cannot be
        conveyed to Purchaser at Closing due to TABC permitting issues.

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                      (c)   Sellers shall have performed and observed, in all material respects, all
        covenants and agreements of this Agreement to be performed and observed by Sellers as of the
        Closing Date;

                       (d)    Sellers shall have obtained Bankruptcy Court approval of this Agreement
        and the Bid Protections;

                         (e)     there shall be no actions, suits, arbitrations, governmental investigations or
        other proceedings pending or, to the knowledge of Sellers, threatened against Sellers or affecting
        the Property before any court or governmental authority, an adverse determination of which might
        materially and adversely affect (i) the operations of the Businesses at the Properties, (ii) Sellers’
        ability to enter into or perform this Agreement, or (iii) Sellers’ title to the Assets;

                       (f)   Seller shall have retained all Key Employees or decreased the Purchase
        Price in accordance with the terms of this Agreement for any Key Employee terminated prior to
        Closing;

                      (g)     To the extent Purchaser rejects assumption of any Lease, Purchaser shall
        have received a duly executed New Lease; and

                        (h)     Purchaser shall have completed all due diligence related to the Transaction
        to its reasonable satisfaction on or before the Deposit Date.

                9.2    Conditions Precedent to Obligation of Seller. The obligation of Sellers to
        consummate the Transactions shall be subject to the fulfillment on or before the Closing Date of
        all of the following conditions, any or all of which may be waived by Sellers in their sole
        discretion:

                       (a)     Purchaser shall have delivered to Sellers all of the items required to be
        delivered to Sellers pursuant to the terms of this Agreement, including but not limited to, those
        provided for in Section 8.3;

                     (b)      all of the representations and warranties of Purchaser contained in this
        Agreement shall be true and correct in all material respects as of the Closing Date; and

                      (c)   Purchaser shall have performed and observed, in all material respects, all
        covenants and agreements of this Agreement to be performed and observed by Purchaser as of the
        Closing Date.

                                                  ARTICLE X
                                                 TERMINATION

                10.1 Termination by Purchaser. Purchaser may terminate this Agreement, if not then
        in material default, upon written notice to Sellers, upon the occurrence of any of the following
        (after giving effect to any right of Sellers to cure provided herein):

                       (a)    if Sellers breach in any material respect any of their obligations or
        representations or warranties contained in this Agreement;

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                        (b)    if the transaction contemplated by this Agreement is not consummated due
        to any default by Sellers hereunder;

                       (c)     if Purchaser is not declared the winning bidder upon completion of the
        Auction;

                       (d)    by Purchaser if (i) Sellers (A) file a chapter 11 plan that does not include
        the Transaction, or (B) enter into a contract related to an Alternative Transaction, or (ii) an
        Alternative Transaction is proposed to the Bankruptcy Court for approval; or

                       (e)     if any other failure of a condition precedent set forth in Section 9.1 occurs;

        If Purchaser terminates this Agreement pursuant Section 10.1 prior to Closing, Purchaser shall be
        entitled, as its sole remedy, to receive from the escrow agent the Earnest Money Deposit. For the
        avoidance of doubt, Purchaser may terminate this Agreement prior to the Deposit Date and will
        have no obligation to deliver the Earnest Money Deposit or otherwise consummate the
        Transaction.

               10.2 Termination by Sellers. Sellers may terminate this Agreement, if not then in
        material default, upon written notice to Purchaser, upon the occurrence of any of the following:

                       (a)    if Purchaser breaches in any material respect any of its obligations or
        representations or warranties contained in this Agreement;

                       (b)     if the Transactions are not consummated due to any default by Purchaser
        hereunder;

                       (c)      by written notice of Sellers to Purchaser that, in accordance with the
        exercise of Sellers’ fiduciary duties under the Bankruptcy Code, they have determined to pursue
        an Alternative Transaction rather than consummating the Transaction with Purchaser hereunder;
        or

                       (d)     if any other failure of a condition precedent set forth in Section 9.2 occurs.

        After the Deposit Date, if Seller terminates this Agreement pursuant Section 10.2(a) or Section
        10.2(b) prior to Closing, Seller shall be entitled, as its sole remedy, to receive from the escrow
        agent the Earnest Money Deposit. Seller is not entitled to specific performance of the terms of
        this Agreement.

               10.3 Termination by Mutual Consent; Outside Date. This Agreement may be
        terminated at any time before the Closing by mutual written consent of Sellers and Purchaser. This
        Agreement shall terminate automatically without further action of the Parties if neither Party is in
        breach of this Agreement and Closing does not occur on or before May 15, 2020. If this Agreement
        terminates after the Deposit Date pursuant to this Section 10.3, Purchaser shall be entitled, as its
        sole remedy, to receive the return of the Earnest Money Deposit.

                                                ARTICLE XI
                                              MISCELLANEOUS

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                11.1 Binding Effect: Assignment; No Third Party Beneficiaries. This Agreement
        shall be binding upon and inure to the benefit of the Parties and their respective successors and
        permitted assigns. Purchaser may not assign its rights under this Agreement without first obtaining
        Sellers’ written approval, which approval may be given or withheld in Seller’s sole discretion,
        except that Purchaser may assign all or any portion of its rights hereunder at Closing to one or
        more Affiliates of Purchaser without Sellers’ consent, however, any such assignment shall not
        relieve Purchaser of its obligations under this Agreement. Nothing in this Agreement shall create
        or be deemed to create any third party beneficiary rights in any Person or entity not a party to this
        Agreement.

                 11.2 Legal Expenses. Should either Party default in the performance of any of the terms
        or conditions of this Agreement, which default results in the filing of a lawsuit for damages,
        specific performance or other permitted remedy, the prevailing Party in such lawsuit shall be
        entitled to its reasonable legal fees and expenses, including such fees and expenses at the appellate
        level. Except as otherwise provided in this Agreement, Purchaser and Sellers shall bear their own
        expenses incurred in connection with the negotiation and execution of this Agreement and any
        other agreement, document or instrument contemplated by this Agreement and the consummation
        of the transactions contemplated hereby and thereby.

                 11.3 Submission to Bankruptcy Court’s Jurisdiction. Sellers and Purchaser hereby
        irrevocably agree to submit to the jurisdiction of the United States Bankruptcy Court for the
        Western District of Texas to resolve any claim or dispute arising out of or related to this
        Agreement. Sellers and Purchaser agree that this Section 11.3 shall survive the Closing or the
        earlier termination of this Agreement.

                11.4 Governing Law. This Agreement shall be governed, construed and enforced in
        accordance with the laws of the State of Texas, without regard to the choice of law provisions
        thereof.

                11.5 Construction. The Parties acknowledge and agree that this Agreement has been
        fully negotiated between them and shall not be interpreted or construed against the drafting party.

                11.6 Notices. All notices, demands, requests or other communication required or
        permitted hereunder shall be in writing and shall be deemed effective when (a) personally delivered
        to the address of the Party to receive such notice set forth below, (b) transmitted if sent via
        facsimile or email (with confirmation of successful transmission), (c) the next succeeding day after
        deposit with a nationally recognized overnight courier service (e.g., Federal Express) and
        addressed to the Party as set forth below, or (d) two (2) days after the date deposited in any post
        office or mail receptacle regularly maintained by the United States Postal Service, certified or
        registered mail, return receipt requested, postage prepaid, addressed as follows (or to such other
        address which a party shall specify to the other party in accordance herewith):

        If to Purchaser:       [Nooner Holdings, LTD Entity]
                               4827 Quarry Run




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                              San Antonio, Texas 78249
                              Phone: 210.670.6600
                              Fax: N/A
                              Email: sean@noonerholdings.com
                              Attn: Sean Nooner

        With a copy to:       Foley & Lardner, LLP
                              2021 McKinney Ave., Suite 1600
                              Dallas, Texas 75201
                              Phone: [_____________]
                              Fax: [_____________]
                              Email: [_____________]
                              Attn: [_____________]

        If to Sellers:        [Gabriel __________]
                              10903 Gabriel’s Place
                              San Antonio, Texas 78217
                              Phone: 210.646.9992
                              Fax: 210.646.6805
                              Email: cgabriel@gabrielspirits.com
                              Attn: Cindy Gabriel

        With a copy to:       Pulman, Cappuccio & Pullen, LLP
                              2161 N.W. Military Highway, Ste 400
                              San Antonio, Texas 78213
                              Phone: 210.222.9494
                              Fax: 210.892.1610
                              Email: rpulman@pulmanlaw.com
                              Attn: Randall Pulman


        Notice shall be deemed to have been given on the date of personal delivery, the date set forth in
        the records of the delivery service, or on the return receipt.

               11.7 Counterparts and Facsimile Signatures. This Agreement may be signed in
        counterparts, each of which shall be deemed an original, but all of which together shall constitute
        one and the same Agreement. Counterpart signatures to the Agreement delivered and received by
        facsimile shall be acceptable and binding to both parties.

                11.8 Entire Agreement. This Agreement, and any Exhibits hereto, and all documents
        to be delivered by the Parties pursuant hereto, collectively represent the entire understanding and
        agreement between Purchaser and Sellers with respect to the subject matter hereof. This
        Agreement supersedes all prior memoranda, discussions and agreements between the Parties, and
        may not be modified, supplemented or amended, except by a written instrument signed by each of
        the Parties designating specifically the terms and provisions so modified, supplemented or
        amended.



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                11.9 Captions. The section captions and headings in this Agreement are for
        convenience and reference purposes only and should not affect in any way the meaning or
        interpretation of this Agreement.

                11.10 No Waiver. Unless otherwise specifically agreed in writing to the contrary, (a) the
        failure of any Party at any time to require performance by the other of any provision of this
        Agreement shall not affect such Party’s right thereafter to enforce the same; (b) no waiver by any
        Party of any default by another shall be taken or held to be a waiver by such Party of any other
        preceding or subsequent default; and (c) no extension of time granted by any Party for the
        performance of any obligation or act by any other Party shall be deemed to be an extension of time
        for the performance of any other obligation or act hereunder.

                11.11 Interpretation. All references in this Agreement to any “Section” or “Article” are
        to the corresponding Section or Article, as applicable, of this Agreement unless otherwise
        specified. All Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated
        in and made a part of this Agreement as if set forth in full herein. The language used in this
        Agreement shall be deemed to be the language chosen by the Parties to express their mutual intent.
        In the event that an ambiguity or question of intent or interpretation arises, this Agreement shall
        be construed as if drafted jointly by the Parties, and no presumption or burden of proof shall arise
        favoring or disfavoring any person or entity by virtue of the authorship of any of the provisions of
        this Agreement.

                                                 ARTICLE XII
                                                 DEFINITIONS

              “Affiliate” of a Person means any other Person that, directly or indirectly, through one or
        more intermediaries, controls, is controlled by, or is under common control with, the first
        mentioned Person.

                “Alternative Transaction” means a transaction or chapter 11 plan in which (a) Sellers sell,
        transfer or otherwise dispose of, directly or indirectly, all or substantially all, or any material
        portion, of the Assets to a Person other than Purchaser (or one of its Affiliates), whether through
        an asset sale, stock sale, merger or any other transaction or (b) the consummation of such
        transaction or chapter 11 plan that would be inconsistent with the transactions contemplated in this
        Agreement.

               “Auction” means the sale of the Assets by Sellers at public auction if a Qualified Bid other
        than the bid by Purchaser in this Agreement is received by Sellers pursuant to the Bidding
        Procedures Order.

               “Bidding Procedures Order” means the order entered by the Bankruptcy Court approving
        the bidding procedures set forth in the Bidding Procedures Motion in a form and substance
        reasonably acceptable to Purchaser.

                “Business Day” means any day that is not a Saturday, Sunday or a day on which the banks
        in the State of Texas are permitted or required by Law to close.



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                “Cure Costs” means all liabilities, obligations, and amounts, if any, necessary to cure all
        defaults, if any, and to pay all costs necessary under 11 U.S.C. § 365 for assumption and
        assignment of the Assumed Contracts, which amounts shall be identified to Purchaser prior to the
        Closing (which schedule shall be agreed by Purchaser and Sellers prior to the Closing Date or such
        other time as the parties may agree).

                   “GAAP” means U.S. generally accepted accounting principles.

               “Governmental Entity” means any federal, state, provincial, local, county or municipal
        government, governmental, judicial, regulatory or administrative agency, commission, board,
        bureau or other authority or instrumentality, domestic or foreign.

                “Law” means, any applicable statute, law (including common law), ordinance, regulation,
        rule, ruling, order, writ, injunction, decree, investigation or other official act of or by any
        Governmental Entity.

               “Lien” means any Lien, interest, pledge, charge, right, privilege, option and other right of
        ownership, attachment, restriction (whether on voting, sale, transfer, disposition, or otherwise),
        claim, mortgage, deed to secure debt, deed of trust, conditional sale or other title retention
        agreement, security interest, security title, easement, license, lease and other right of usage, and
        any other encumbrance of any kind, type and description, whether imposed by applicable law,
        agreement understanding, or otherwise, including “Lien” (as defined in section 101(37) of the
        Bankruptcy Code) and any “claim” (as defined in section 101(5) of the Bankruptcy Code),
        including any successor-liability claim and pension liability; provided, however, that a financing
        statement filed by the lessor of equipment to evidence its leasehold interest in such equipment shall
        not constitute a Lien.

               “Noncompete Persons” means each of Inez Cindy Gabriel, Jennifer Barbaro, John D.
        Gabriel, Sr., Rosalie Gabriel, John Deep Gabriel, Jr., Ronald A. Gabriel, Roslyn Gabriel, The
        Hargrove Children’s Trust of 201 Brooke Lee Hargrove GIG Inc S Trust, The Hargrove Children’s
        Trust of 201 Gabrielle Lynn Hargrove GIG S Trust, and The Hargrove Children’s Trust of 201
        William Dillon Hargrove II GIG Trust.

                “Person” means any individual, corporation, partnership, association, limited liability
        company, trust, joint venture, unincorporated organization, or other entity or group (as defined in
        section 13(d)(3) of the Securities Exchange Act of 1934, as amended).

                   “Qualified Bid” has the meaning set forth in the Bidding Procedures Order.

               “Sale Hearing” means the hearing scheduled and held by the Bankruptcy Court on the
        approval of the sale of the Assets under this Agreement.

                   “Target Inventory Value” means $5,000,000.

                “Tax” means any and all federal, state, local, foreign and other taxes, levies, fees, imposts,
        duties, governmental fees and charges of whatever kind (including any interest, penalties or
        additions to the tax imposed in connection therewith or with respect thereto and any interest in
        respect of such additions or penalties), whether or not imposed on Sellers, including taxes imposed

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        on, or measured by, income, franchise, profits, gross income or gross receipts, and also ad valorem,
        value added, sales, use, service, real or personal property, capital stock, stock transfer, license,
        payroll, withholding, employment, social security, workers’ compensation, unemployment
        compensation, utility, severance, production, excise, stamp, occupation, premium, windfall profits,
        environmental, transfer and gains taxes and customs duties.

               “Tax Return” means all returns, reports, information statements, elections, declarations,
        disclosures, schedules, estimates, information returns, and other documentation (including any
        additional or supporting materials) filed or maintained, or required to be filed or maintained, in
        connection with the calculation, determination, assessment or collection of any Tax and shall
        include amended returns required as a result of examination adjustments made by the Internal
        Revenue Service or other Tax authority.

                                             [Signature page follows]




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                 IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first
          above written.

           Purchaser:                                 Sellers:

           [NOONER HOLDINGS, LTD ENTITY]              GABRIEL INVESTMENT GROUP, INC.


           By:                                        By:
           Name:                                      Name:
           Title:                                     Title:


                                                      GABRIEL GP, INC.


                                                      By:
                                                      Name:
                                                      Title:


                                                      GABRIEL HOLDINGS, LLC


                                                      By:
                                                      Name:
                                                      Title:


                                                      DON’S AND BEN’S, INC.


                                                      By:
                                                      Name:
                                                      Title:


                                                      SA DISCOUNT LIQUORS, INC.


                                                      By:
                                                      Name:
                                                      Title:




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          Noncompete Persons:



          Inez Cindy Gabriel



          Jennifer Barbaro



          John D. Gabriel, Sr.



          Rosalie Gabriel



          John Deep Gabriel, Jr.



          Ronald A. Gabriel



          Roslyn Gabriel



          The Hargrove Children’s Trust of 201
          Brooke Lee Hargrove GIG Inc S Trust



          The Hargrove Children’s Trust of 201
          Gabrielle Lynn Hargrove GIG S Trust



          The Hargrove Children’s Trust of 201
          William Dillon Hargrove II GIG Trust




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                                            Exhibit A

                                             Leases




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                                            Exhibit B

                                        Form of Assignment




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                                            Exhibit C

                                              TSA




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                                            Schedule 1

                                     Businesses and Properties




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                                          Schedule 1.1(c)

                                           Equipment




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                                          Schedule 1.1(f)

                                             Permits




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                                          Schedule 1.1(j)

                                        Assumed Contracts




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                                                      Schedule 1.2

                                                    Excluded Assets


               1. Any equity or ownership interests Sellers may own in any Seller or its Affiliates, including,
                  without limitation, stock, shares, partnership interests, membership interests and similar
                  forms of equity ownership.

               2. All contracts of insurance.

               3. Documents subject to legal privilege.

               4. Cash on hand as of Closing.




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                                          Schedule 2.2(a)

                                          Key Employees




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                                          Schedule 6.1(k)

                                            Insurance




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                        EXHIBIT C
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 IN RE:                                           §
                                                  §
 GABRIEL INVESTMENT GROUP, INC., ET AL.,          §       BANKRUPTCY NO. 19-52298-RBK
                                                  §
 DEBTORS                                          §       CHAPTER 11 CASE
                                                  §


                NOTICE OF SALE OF DEBTORS’ ASSETS AND BIDDING PROCEDURES


                PLEASE READ THIS NOTICE CAREFULLY AS YOUR
                RIGHTS MAY BE AFFECTED AS SET FORTH HEREIN.

       On September 27, 2019 (the “Petition Date”), the Debtors filed voluntary petitions under
 Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the
 “Bankruptcy Code”).

          On March __, 2020, Debtors filed Debtors’ Motion to Approve (A) Sale Procedures and
 Bid Protections in Connection with the Sale of the Debtors’ Assets; (B) the Form of Notice for
 the Sale of the Debtors’ Assets and (C) the Form of Notice Related to the Assumption and
 Assignment of Unexpired Leases and Executory Contracts (the “Bid Procedures Motion”)
 seeking approval of certain procedures for the sale of and taking bids (the “Sale
 Process”) on the Debtors’ Property. Through this Sale Process, Debtors seek the highest and
 best offer(s) for the sale of the Property (the “Sale”) free and clear of any and all liens, claims,
 rights, interests, and encumbrances in accordance with Section 363(f) of the Bankruptcy Code,
 with such liens, claims, rights, interests, and encumbrances to attach to the sale proceeds. The
 Sale Process is subject to, and all offers must be in accordance with, the sale procedures
 approved by the Bankruptcy Court, which are attached hereto as Exhibit A (the “Bid
 Procedures”).

        On March ___, 2020, the Bankruptcy Court entered its Order Approving (A) Sale
 Procedures and Bid Protections in Connection with the Sale of the Debtors’ Assets; (B) the
 Form of Notice for the Sale of the Debtors’ Assets and (C) the Form of Notice Related to the
 Assumption and Assignment of Unexpired Leases and Executory Contracts [Docket No. ]
 (the “Bid Procedures Order”) in which it, among other things, (a) approved the Bid
 Procedures, (b) approved the form and manner of notice of the Bid Procedures, (c) set an
 Objection Deadline to the Sale, and (d) established the date for the Sale.

         Any party desiring to make an offer to buy, or a proposal relating to, the Property that is
 the subject of the Bid Procedures must comply with those Bid Procedures and submit a bid by no
 later than April 15, 2020 (the “Bid Deadline”).



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        In the event Debtors receive one or more timely and conforming Qualified Bids by the
 Bid Deadline, the Debtors shall conduct an auction for the sale of the Property at the offices of
 Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio, Texas
 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time (the “Auction”). All
 Qualified Bidders may participate in such Auction.

        After conclusion of the Auction, Debtors shall request that the Court approve the highest
 or best Qualified Bid received at the Auction as the winning bid (the “Successful Bid”) at a
 hearing to be held at Hipolito F. Garcia Federal Building and United State Courthouse,
 Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on Thursday
 April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

         Objections, if any, to the consummation of the Sale, other than objections with respect
 to the assumption and assignment of executory contracts, shall be filed with the Bankruptcy
 Court by no later than April 17, 2020 (the “Objection Deadline”). Objections to the
 assumption and assignment of executory contracts must be submitted before the deadlines set
 forth in the Bid Procedures Order, which generally provides that such objections must be filed
 and served within the earlier of (x) twenty-one (21) days after the service of a notice of potential
 assumption of such executory contracts and (y) the date of the Sale Hearing.

         Any person failing to timely file an objection to the Sale prior to the deadlines set forth
 in the Bid Procedures Order shall be forever barred from objecting to the Sale, including the
 transferring of the Property free and clear of any and all liens, claims and other interests, and
 will be deemed to consent to the Sale.

                                                  Respectfully submitted,

                                                  PULMAN, CAPPUCCIO & PULLEN, LLP
                                                  2161 NW Military Highway, Suite 400
                                                  San Antonio, Texas 78213
                                                  www.pulmanlaw.com
                                                  (210) 222-9494 Telephone
                                                  (210) 892-1610 Facsimile

                                                  By: /s/ Thomas Rice
                                                      Randall A. Pulman
                                                      Texas State Bar No. 16393250
                                                      rpulman@pulmanlaw.com
                                                      Thomas Rice
                                                      Texas State Bar No. 24025613
                                                      trice@pulmanlaw.com
                                                      Amber F. Fly
                                                      Texas State Bar No. 24101761
                                                      afly@pulmanlaw.com

                                                  ATTORNEYS FOR DEBTOR AND DEBTOR-IN-
                                                  POSSESSION


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                                       SALE PROCEDURES

         On September 27, 2019 (the “Petition Date”), the Debtors filed voluntary petitions
  under Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended,
  the “Bankruptcy Code”).

         These Sale Procedures have been approved and authorized pursuant to the Debtors’
  Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of
  the Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the
  Form of Notice Related to the Assumption and Assignment of Unexpired Leases and
  Executory Contracts (the “Sale Procedure Motion”) and the Order Approving Debtors’
  Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of the
  Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the Form
  of Notice Related to the Assumption and Assignment of Unexpired Leases and Executory
  Contracts (the “Sale Procedures Order”), entered by the United States Bankruptcy Court for
  the Western District of Texas, San Antonio Division.

                A. Assets to be Sold
          Debtors seek to consummate the Proposed Transactions with NH (as defined in the
  Sale Procedure Motion), including the sale of substantially all of their assets, as defined in the
  Sale Procedure Motion and draft Asset Purchase Agreement, which is attached to the Sale
  Procedure Motion. The Property shall be sold free and clear of all claims, encumbrances,
  liens, and interests. Debtors may consider bids from one or more Qualified Bidders for the
  Property; provided, however, that multiple bidders may not act together pursuant to a collusive
  agreement between or among them.

          Generally, the Property includes all assets, rights, entitlements and privileges of the
  Debtors’ assets and rights of the Debtors, including possibly (a) 32 locations and (b)(i) the
  assumption and assignment to NH of all leasehold rights in all locations or used in the
  Debtors’ business operations; (ii) the assumption and assignment of all personal-property
  leases used in the Debtors’ business operations and designated by NH in its sole and absolute
  discretion; (iii) the conveyance free and clear of all liens, claims, encumbrances, and interests
  of all inventory, furniture, fixture, equipment located at or used in the operation for each of the
  32 locations, and (iv) conveyance of all intellectual property related to the operation of the
  Debtors’ businesses, including, without limitation, all patents, permits, licenses, exemptions
  (including any pre-1949 or pre-1995 permits), trademarks, designs, social-media assets, e-
  commerce assets, URLs, customer lists, and data associated with the stores to NH free and
  clear of all liens, claims, encumbrances, and interests (collectively, items (i)-(iv) are the
  “Property”) and (c) the acquisition of all stock in the Debtors. the Debtors propose to
  effectuate the Proposed Transactions, subject to higher and better offers.

         The Property currently includes acquisition of the equity interests in Gabriel Investment
  Group, Inc., a publicly held corporation (the “PubCo”) that is authorized to own liquor store
  permits under Section 22.16(f) of the Texas Alcoholic Beverage Code. Debtors will also
  consider offers seeking to purchase either the PubCo separately or purchase the Liquor Store
  assets without acquiring the equity interests in PubCo.


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        The Debtors have set up a data room, which can be accessed by contacting the Debtors’
  Investment Bankers at:

  John J. O’Neill                                     Brad Walker
  NTA – A Riverbend Company                           NTA – A Riverbend Company
  (214) 870-5040                                      (214) 616-6256
  joneill@nta-riverbend.com                           bwalker@riverbendssg.com

                B. Submission of Initial Qualifying Bids by Potential Purchasers

          Any person desiring to submit a bid for the Property (a “Bid”) and to participate in the
  auction of the Property (the “Auction”) shall deliver their Bid and an executed copy of an
  Asset Purchase Agreement to Thomas Rice, Pulman, Cappuccio & Pullen, LLP, 2161 NW
  Military Highway, Suite 400, San Antonio, Texas 78213; Fax No. (210) 892-1610; email
  trice@pulmanlaw.com and deposit One Hundred Thousand and no/100 dollars ($100,000.00)
  (the “Earnest Money Deposit”) with an escrow agent selected by the Debtors, such that the
  Bid is actually received by close of business on April 15, 2020 (the “Bid Deadline”).

         Any such Bid submitted by the Bid Deadline shall be in the amount of at least
  $7,500,000 to be a Qualified Bid and to allow that Bidder to participate in the Auction of the
  Property.

                C. Stalking Horse Bid

          The Court has approved the Stalking Horse Bidder, the Stalking horse Bid, and the bid
  protections. The Stalking Horse Bidder and PNC are Qualified Bidders. If no other Qualified
  Bids are received, the Stalking Horse Bidder shall be deemed the highest or best bid for the
  Property, and the Debtors shall seek approval of the Proposed Transactions with the Stalking
  Horse Bidder on the terms outlined in the Stalking Horse Bid.

                D. The Auction and Selection of the Successful Bid
         If the Debtors receive one or more timely and conforming Qualified Bids by the Bid
  Deadline, Debtors shall conduct an Auction for the sale of the Property at the offices of
  Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio,
  Texas 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time and all
  Qualified Bidders may participate in such Auction.

         If multiple Qualified Bids satisfying all requirements are received and Debtors
  determine to proceed with an Auction as set forth above, each Qualified Bidder (including
  PNC and the Stalking Horse Bidder) shall have the right to continue to improve its bid at the
  Auction.

         At the Auction, Debtors shall announce the highest or best Qualified Bid received by
  the Bid Deadline, which Qualified Bid shall be the starting bid at the Auction. The Stalking
  Horse Bidder shall have the right to make the first overbid. All subsequent bids shall proceed
  in the order of receipt. Qualified Bidders may then improve their Qualified Bids, in
  increments of at least $100,000.00, overbidding the previous high bid at the Auction.


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         The Debtors, with the written consent of PNC, the Official Committee of Unsecured
  Creditors (the “Committee”) and the Stalking Horse Bidder, retain the right to modify the
  Overbid Increment during the course of the Auction. By making a Qualified Bid, a Qualified
  Bidder shall be deemed to have agreed to keep its final Qualified Bid open until closing of the
  approved Sale.

         At the conclusion of the Auction, Debtors shall request that the Court approve the
  highest or best Qualified Bid received at the Auction as the winning bid (the “Successful
  Bid”) at a hearing to be held at Hipolito F. Garcia Federal Building and United State
  Courthouse, Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on
  Thursday April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

                E. Objections to Sale
          Any objection(s) filed to the sale of the Property, other than objections related to the
  assumption and assignment of executory contracts (which shall be submitted in accordance
  with the Sale Procedures Order) (i) shall be set forth in writing and shall specify with
  particularity the grounds for such objections or other statements of position; (ii) shall be filed
  with the Court on or before on or before April 17, 2020 (the “Objection Deadline”). Any
  person failing to timely file an objection to the Sale prior to the Objection Deadline shall be
  forever barred from objecting to the Sale, including the transferring of the Property free and
  clear of any and all liens, claims and other interests, and will be deemed to consent to the Sale.

         Any objections to the assignment and/or assumption of any of the Debtors’ executory
  contracts or agreements must be submitted in accordance with the timeline set forth in the Sale
  Procedure Order, which generally requires that any such objections be filed no later than
  twenty-one (21) days after service of the applicable assumption and assignment notice.

                F. Court Approval

         At the Sale Hearing, Debtors will seek entry of an order approving the sale of the
  Property to the Successful Bidder pursuant to 11 U.S.C. §363(f) and free and clear of all liens,
  claims, encumbrances, and interests. The Sale Hearing may be adjourned or rescheduled as
  ordered by the Bankruptcy Court or by Debtors with the approval of PNC, the Committee and
  the Successful Bidder and without further notice to creditors and parties in interest other than
  by announcement by Debtors of the adjourned date at the Sale Hearing.

         Debtors’ presentation to the Bankruptcy Court for approval of a Successful Bid does
  not constitute Debtors’ acceptance of the Bid. Debtors will be deemed to have accepted a Bid
  only when the Bid has been approved by Order of the Bankruptcy Court.

                G. Closing

         The closing of the sale of the Property shall occur no later than April 30, 2020 (the
  “Final Closing Deadline”); provided, however, that this requirement may be waived upon an
  agreement between Debtors, PNC, the Committee and the Successful Bidder.

                H. Failure to Consummate Purchase


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          If any Successful Bidder fails to consummate the purchase of the Property, and such
  failure to consummate the purchase is the result of a breach by such Successful Bidder, the
  Earnest Money Deposit of such Successful Bidder shall be forfeited to the Estates.

                I. Back-Up Bidders

          If any Successful Bidder fails to consummate a Sale because of a breach or failure to
  perform on the part of such Successful Bidder, the Qualified Bidder that had submitted the
  next highest or otherwise best Qualified Bid at the Auction (if any), as determined by the
  Debtors, PNC, and the Committee (the “Back-Up Bidder(s)”) will be deemed to be the
  Successful Bidder for the Property and Debtors, with the consent of PNC and the Committee,
  will be authorized to consummate the Sale of the Property to such Back-Up Bidder without
  further order of the Bankruptcy Court and such Qualified Bid shall thereupon be deemed the
  Successful Bid. If any Qualified Bidder fails to consummate a Sale because of a breach or
  failure to perform on the part of such Qualified Bidder or for any reason within ten days after
  being deemed the Back-Up Bidder pursuant to this section of the Sale Procedures, the process
  described above may continue as determined by Debtors with the consent of PNC and the
  Committee, until a Qualified Bidder shall consummate the Sale.

                J. Return of Earnest Money Deposit

          Unless otherwise outlined in the Asset Purchase agreement, the Earnest Money
  Deposit of all Qualified Bidders, who are not the Successful Bidder, will be returned, without
  interest, to each such Qualified Bidder as soon as reasonably practicable but in any event
  within seven (7) business days after the closing of the Sale.

                K. Reservation of Rights

          1.      Determination of Successful Bid. Debtors, with the written consent of PNC and
  the Committee, retain the right to: (a) determine whether any Qualified Bid is a successful bid,
  (b) reject, at any time prior to the entry of the Sale Order, any Bid that the Debtors, with the
  written consent of PNC and the Committee, determine to be inadequate, insufficient, or not in
  conformity with the sale procedures.
         2.      Modification of Bidding Procedures. Debtors, with the written consent of PNC
  and the Committee, may modify the Sale Procedures, without the need for any further order of
  the Bankruptcy Court, including, without limitation (a) extending the deadlines set forth in
  these Sale Procedures, and (b) adjourning the Sale Hearing.

                L. As Is, Where As Sale

          The sale of the Property shall be on an “as is, where as” basis and without
  representations or warranties of any kind, nature, or description by the Debtors, their Estates,
  or their agents and representatives. Except as otherwise expressly provided in these Sale
  Procedures, by submitting a bid, each Potential Purchaser that submits a bid shall be deemed
  to acknowledge and represent that it (i) has had an opportunity to conduct any and all
  reasonable due diligence regarding the Property prior to makings its bid, (ii) has relied solely


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   upon its own independent review, investigation and/or inspection of any and all documents
   and/or the Property in making its bid, and (iii) did not rely on any written or oral statements,
   representations, promises, warranties or guaranties whatsoever, whether express, implied, by
   operation of law or otherwise, regarding the Property, or the completeness of any information
   provided in connection therewith.

                 M. Debtor’s Counsel

         Any questions regarding these Sales Procedures should be addressed to Debtors’
   Counsel whose contact information is:

                 Randall A. Pulman
                 rpulman@pulmanlaw.com
                 Thomas Rice
                 trice@pulmanlaw.com
                 Amber Fly
                 afly@pulmanlaw.com
                 PULMAN, CAPPUCCIO & PULLEN, LLP
                 2161 NW Military Highway, Suite 400
                 San Antonio, Texas 78213
                 www.pulmanlaw.com
                 (210) 222-9494 Telephone
                 (210) 892-1610 Facsimile




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                                        SALE PROCEDURES

          On September 27, 2019 (the “Petition Date”), the Debtors filed voluntary petitions
   under Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended,
   the “Bankruptcy Code”).

          These Sale Procedures have been approved and authorized pursuant to the Debtors’
   Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of
   the Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the
   Form of Notice Related to the Assumption and Assignment of Unexpired Leases and
   Executory Contracts (the “Sale Procedure Motion”) and the Order Approving Debtors’
   Motion to Approve (A) Sale Procedures and Bid Protections in Connection with the Sale of the
   Debtors’ Assets; (B) the Form of Notice for the Sale of the Debtors’ Assets and (C) the Form
   of Notice Related to the Assumption and Assignment of Unexpired Leases and Executory
   Contracts (the “Sale Procedures Order”), entered by the United States Bankruptcy Court for
   the Western District of Texas, San Antonio Division.

                 A. Assets to be Sold
           Debtors seek to consummate the Proposed Transactions with NH (as defined in the
   Sale Procedure Motion), including the sale of substantially all of their assets, as defined in the
   Sale Procedure Motion and draft Asset Purchase Agreement, which is attached to the Sale
   Procedure Motion. The Property shall be sold free and clear of all claims, encumbrances,
   liens, and interests. Debtors may consider bids from one or more Qualified Bidders for the
   Property; provided, however, that multiple bidders may not act together pursuant to a collusive
   agreement between or among them.

           Generally, the Property includes all assets, rights, entitlements and privileges of the
   Debtors’ assets and rights of the Debtors, including possibly (a) 32 locations and (b)(i) the
   assumption and assignment to NH of all leasehold rights in all locations or used in the
   Debtors’ business operations; (ii) the assumption and assignment of all personal-property
   leases used in the Debtors’ business operations and designated by NH in its sole and absolute
   discretion; (iii) the conveyance free and clear of all liens, claims, encumbrances, and interests
   of all inventory, furniture, fixture, equipment located at or used in the operation for each of the
   32 locations, and (iv) conveyance of all intellectual property related to the operation of the
   Debtors’ businesses, including, without limitation, all patents, permits, licenses, exemptions
   (including any pre-1949 or pre-1995 permits), trademarks, designs, social-media assets, e-
   commerce assets, URLs, customer lists, and data associated with the stores to NH free and
   clear of all liens, claims, encumbrances, and interests (collectively, items (i)-(iv) are the
   “Property”) and (c) the acquisition of all stock in the Debtors. the Debtors propose to
   effectuate the Proposed Transactions, subject to higher and better offers.

          The Property currently includes acquisition of the equity interests in Gabriel Investment
   Group, Inc., a publicly held corporation (the “PubCo”) that is authorized to own liquor store
   permits under Section 22.16(f) of the Texas Alcoholic Beverage Code. Debtors will also
   consider offers seeking to purchase either the PubCo separately or purchase the Liquor Store
   assets without acquiring the equity interests in PubCo.


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         The Debtors have set up a data room, which can be accessed by contacting the Debtors’
   Investment Bankers at:

   John J. O’Neill                                     Brad Walker
   NTA – A Riverbend Company                           NTA – A Riverbend Company
   (214) 870-5040                                      (214) 616-6256
   joneill@nta-riverbend.com                           bwalker@riverbendssg.com

                 B. Submission of Initial Qualifying Bids by Potential Purchasers

           Any person desiring to submit a bid for the Property (a “Bid”) and to participate in the
   auction of the Property (the “Auction”) shall deliver their Bid and an executed copy of an
   Asset Purchase Agreement to Thomas Rice, Pulman, Cappuccio & Pullen, LLP, 2161 NW
   Military Highway, Suite 400, San Antonio, Texas 78213; Fax No. (210) 892-1610; email
   trice@pulmanlaw.com and deposit One Hundred Thousand and no/100 dollars ($100,000.00)
   (the “Earnest Money Deposit”) with an escrow agent selected by the Debtors, such that the
   Bid is actually received by close of business on April 15, 2020 (the “Bid Deadline”).

          Any such Bid submitted by the Bid Deadline shall be in the amount of at least
   $7,500,000 to be a Qualified Bid and to allow that Bidder to participate in the Auction of the
   Property.

                 C. Stalking Horse Bid

           The Court has approved the Stalking Horse Bidder, the Stalking horse Bid, and the bid
   protections. The Stalking Horse Bidder and PNC are Qualified Bidders. If no other Qualified
   Bids are received, the Stalking Horse Bidder shall be deemed the highest or best bid for the
   Property, and the Debtors shall seek approval of the Proposed Transactions with the Stalking
   Horse Bidder on the terms outlined in the Stalking Horse Bid.

                 D. The Auction and Selection of the Successful Bid
          If the Debtors receive one or more timely and conforming Qualified Bids by the Bid
   Deadline, Debtors shall conduct an Auction for the sale of the Property at the offices of
   Pulman, Cappuccio & Pullen, LLP, 2161 NW Military Highway, Suite 400, San Antonio,
   Texas 78213 on Monday April 20, 2020 at 1:30 p.m., prevailing Central Time and all
   Qualified Bidders may participate in such Auction.

          If multiple Qualified Bids satisfying all requirements are received and Debtors
   determine to proceed with an Auction as set forth above, each Qualified Bidder (including
   PNC and the Stalking Horse Bidder) shall have the right to continue to improve its bid at the
   Auction.

          At the Auction, Debtors shall announce the highest or best Qualified Bid received by
   the Bid Deadline, which Qualified Bid shall be the starting bid at the Auction. The Stalking
   Horse Bidder shall have the right to make the first overbid. All subsequent bids shall proceed
   in the order of receipt. Qualified Bidders may then improve their Qualified Bids, in
   increments of at least $100,000.00, overbidding the previous high bid at the Auction.


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          The Debtors, with the written consent of PNC, the Official Committee of Unsecured
   Creditors (the “Committee”) and the Stalking Horse Bidder, retain the right to modify the
   Overbid Increment during the course of the Auction. By making a Qualified Bid, a Qualified
   Bidder shall be deemed to have agreed to keep its final Qualified Bid open until closing of the
   approved Sale.

          At the conclusion of the Auction, Debtors shall request that the Court approve the
   highest or best Qualified Bid received at the Auction as the winning bid (the “Successful
   Bid”) at a hearing to be held at Hipolito F. Garcia Federal Building and United State
   Courthouse, Courtroom No. 1, Third Floor, 615 E. Houston St., San Antonio, Texas 78205 on
   Thursday April 23, 2020 at 1:30 p.m., prevailing Central Time (the “Sale Hearing”).

                 E. Objections to Sale
           Any objection(s) filed to the sale of the Property, other than objections related to the
   assumption and assignment of executory contracts (which shall be submitted in accordance
   with the Sale Procedures Order) (i) shall be set forth in writing and shall specify with
   particularity the grounds for such objections or other statements of position; (ii) shall be filed
   with the Court on or before on or before April 17, 2020 (the “Objection Deadline”). Any
   person failing to timely file an objection to the Sale prior to the Objection Deadline shall be
   forever barred from objecting to the Sale, including the transferring of the Property free and
   clear of any and all liens, claims and other interests, and will be deemed to consent to the Sale.

          Any objections to the assignment and/or assumption of any of the Debtors’ executory
   contracts or agreements must be submitted in accordance with the timeline set forth in the Sale
   Procedure Order, which generally requires that any such objections be filed no later than
   twenty-one (21) days after service of the applicable assumption and assignment notice.

                 F. Court Approval

          At the Sale Hearing, Debtors will seek entry of an order approving the sale of the
   Property to the Successful Bidder pursuant to 11 U.S.C. §363(f) and free and clear of all liens,
   claims, encumbrances, and interests. The Sale Hearing may be adjourned or rescheduled as
   ordered by the Bankruptcy Court or by Debtors with the approval of PNC, the Committee and
   the Successful Bidder and without further notice to creditors and parties in interest other than
   by announcement by Debtors of the adjourned date at the Sale Hearing.

          Debtors’ presentation to the Bankruptcy Court for approval of a Successful Bid does
   not constitute Debtors’ acceptance of the Bid. Debtors will be deemed to have accepted a Bid
   only when the Bid has been approved by Order of the Bankruptcy Court.

                 G. Closing

          The closing of the sale of the Property shall occur no later than April 30, 2020 (the
   “Final Closing Deadline”); provided, however, that this requirement may be waived upon an
   agreement between Debtors, PNC, the Committee and the Successful Bidder.

                 H. Failure to Consummate Purchase


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           If any Successful Bidder fails to consummate the purchase of the Property, and such
   failure to consummate the purchase is the result of a breach by such Successful Bidder, the
   Earnest Money Deposit of such Successful Bidder shall be forfeited to the Estates.

                 I. Back-Up Bidders

           If any Successful Bidder fails to consummate a Sale because of a breach or failure to
   perform on the part of such Successful Bidder, the Qualified Bidder that had submitted the
   next highest or otherwise best Qualified Bid at the Auction (if any), as determined by the
   Debtors, PNC, and the Committee (the “Back-Up Bidder(s)”) will be deemed to be the
   Successful Bidder for the Property and Debtors, with the consent of PNC and the Committee,
   will be authorized to consummate the Sale of the Property to such Back-Up Bidder without
   further order of the Bankruptcy Court and such Qualified Bid shall thereupon be deemed the
   Successful Bid. If any Qualified Bidder fails to consummate a Sale because of a breach or
   failure to perform on the part of such Qualified Bidder or for any reason within ten days after
   being deemed the Back-Up Bidder pursuant to this section of the Sale Procedures, the process
   described above may continue as determined by Debtors with the consent of PNC and the
   Committee, until a Qualified Bidder shall consummate the Sale.

                 J. Return of Earnest Money Deposit

           Unless otherwise outlined in the Asset Purchase agreement, the Earnest Money
   Deposit of all Qualified Bidders, who are not the Successful Bidder, will be returned, without
   interest, to each such Qualified Bidder as soon as reasonably practicable but in any event
   within seven (7) business days after the closing of the Sale.

                 K. Reservation of Rights

           1.      Determination of Successful Bid. Debtors, with the written consent of PNC and
   the Committee, retain the right to: (a) determine whether any Qualified Bid is a successful bid,
   (b) reject, at any time prior to the entry of the Sale Order, any Bid that the Debtors, with the
   written consent of PNC and the Committee, determine to be inadequate, insufficient, or not in
   conformity with the sale procedures.
          2.      Modification of Bidding Procedures. Debtors, with the written consent of PNC
   and the Committee, may modify the Sale Procedures, without the need for any further order of
   the Bankruptcy Court, including, without limitation (a) extending the deadlines set forth in
   these Sale Procedures, and (b) adjourning the Sale Hearing.

                 L. As Is, Where As Sale

           The sale of the Property shall be on an “as is, where as” basis and without
   representations or warranties of any kind, nature, or description by the Debtors, their Estates,
   or their agents and representatives. Except as otherwise expressly provided in these Sale
   Procedures, by submitting a bid, each Potential Purchaser that submits a bid shall be deemed
   to acknowledge and represent that it (i) has had an opportunity to conduct any and all
   reasonable due diligence regarding the Property prior to makings its bid, (ii) has relied solely


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   upon its own independent review, investigation and/or inspection of any and all documents
   and/or the Property in making its bid, and (iii) did not rely on any written or oral statements,
   representations, promises, warranties or guaranties whatsoever, whether express, implied, by
   operation of law or otherwise, regarding the Property, or the completeness of any information
   provided in connection therewith.

                 M. Debtor’s Counsel

         Any questions regarding these Sales Procedures should be addressed to Debtors’
   Counsel whose contact information is:

                 Randall A. Pulman
                 rpulman@pulmanlaw.com
                 Thomas Rice
                 trice@pulmanlaw.com
                 Amber Fly
                 afly@pulmanlaw.com
                 PULMAN, CAPPUCCIO & PULLEN, LLP
                 2161 NW Military Highway, Suite 400
                 San Antonio, Texas 78213
                 www.pulmanlaw.com
                 (210) 222-9494 Telephone
                 (210) 892-1610 Facsimile




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                         EXHIBIT E
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

  IN RE:                                                 §            CHAPTER 11
                                                         §
  GABRIEL INVESTMENT GROUP, INC., ET AL.,                §            BANKRUPTCY NO. 19-52298-RBK
                                                         §
  DEBTORS                                                §            JOINTLY ADMINISTERED


  NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES WHICH MAY BE ASSUMED AND
    ASSIGNED IN CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
            ASSETS AND THE PROPOSED CURE AMOUNT WITH RESPECT THERETO


  You are receiving this Notice of Executory Contracts and Unexpired Leases Which May Be
  Assumed and Assigned in Connection With the Sale of Substantially All of the Debtors’ Assets
  and the Proposed Cure Amount With Respect Thereto (the “Notice of Assumption and
  Assignment”) because you may be a counterparty to an executory contract or unexpired
  lease with Gabriel Investment Group Inc. et al. (“Debtors” or “Gabriel’s”),1 Debtors in the above
  captioned cases (the “Cases”). Please read this notice carefully as your rights may be affected
  by the transactions described herein.

  PLEASE TAKE NOTICE that on March [ ], 2020, the United States Bankruptcy Court for the
  Western District of Texas, San Antonio Division (the “Bankruptcy Court”) entered an order (the
  “Sale Procedures Order”) approving the Debtors’ Motion to Approve (A) Sale Procedures and
  Bid Protections in Connection with the Sale of the Debtors’ Assets; (B) the Form of Notice for
  the Sale of the Debtors’ Assets and (C) the Form of Notice Related to the Assumption and
  Assignment of Unexpired Leases and Executory Contracts (the “Sale Procedures Motion”), filed
  by the Debtors.2 The Sale Procedures Order set forth certain procedures (the “Sale Procedures”)
  in connection with the sale of the Debtors’ Assets (the “Sale Transaction”).

  PLEASE TAKE FURTHER NOTICE that pursuant to the Sale Procedures Order, the Debtors
  have established procedures for the assumption, assignment and sale of certain executory
  contracts and unexpired leases (collectively, the “365 Contracts”) to a potential purchaser and
  the determination of related Cure Costs (as defined herein). Debtors are a party to 365 Contracts
  and, in accordance with the Sale Procedures Order, hereby file this notice identifying (i) the 365
  Contracts which may be assumed and assigned to a Successful Bidder in connection with the
  Sale Transaction and (ii) the proposed amounts, if any, the Successful Bidder believes are owed

  1
    The terms “Debtors” and “Gabriel’s” as used herein shall mean Gabriel Investment Group, Inc. (“GIG”), Gabriel
  GP, Inc. (“GP”), Gabriel Holdings, LLC (“Gabriel Holdings”), Don’s & Ben’s, Inc. (“D&B”), and S.A. Discount
  Liquor, Inc. (“Discount Liquor”) collectively.
  2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Procedures
  Motion.



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  to the counterparty to the 365 Contract to cure all defaults or arrears existing under the 365
  Contract (the “Cure Costs”), both as set forth on Exhibit 1 attached hereto.

  PLEASE TAKE FURTHER NOTICE that the listing of a 365 Contract on Exhibit 1 does not
  constitute an admission that the agreement is an executory contract or unexpired lease as
  contemplated by section 365(a) of the Bankruptcy Code or that the Debtors have any liability
  thereunder, and the Debtors expressly reserve all of their rights, claims, causes of action and
  defenses with respect to the 365 Contracts listed on Exhibit 1.

  PLEASE TAKE FURTHER NOTICE that any objections to the assumption, assignment, and
  sale of any 365 Contract identified in this Notice (except with respect to the adequate assurance
  of future performance by any Successful Bidders), must be (i) in writing and (ii) filed with the
  Bankruptcy Court by no later than the earlier of (x) twenty-one (21) days from the date of this
  notice (the “Assumption and Assignment Objection Deadline”) or (y) the date of the
  Assumption/Assignment Hearing. Any such objections must set forth any objection to the
  possible assumption, assignment, and sale of the 365 Contracts (and must state, with specificity,
  the legal and factual basis thereof) and, if applicable, the proposed Cure Costs (and must state,
  with specificity, what Cure Costs are required with appropriate documentation in support
  thereof).

  PLEASE TAKE FURTHER NOTICE that if a counterparty to a 365 Contract files a timely
  objection asserting a higher cure amount than the maximum Cure Costs, and the parties are
  unable to consensually resolve the dispute prior to the hearing to resolve any such objection,
  which hearing will be held on April 23, 2020 (the “Assumption/Assignment Hearing”), the
  amount to be paid or reserved with respect to such objection will be determined at the
  Assumption/Assignment Hearing. All other objections to the proposed assumption and
  assignment of the Debtors’ right, title, and interest in, to and under the 365 Contracts, if it is
  ultimately designated a 365 Contract that the Successful Bidder proposes be assumed, assigned,
  and sold to it in connection with the transaction (a “Desired 365 Contract”), will also be heard at
  the Assumption/Assignment Hearing.

  PLEASE TAKE FURTHER NOTICE that if no objection is timely filed and served, the
  counterparty to a 365 Contract shall be deemed to have consented to the assumption, assignment
  and sale of the 365 Contract to any Successful Bidder if such 365 Contract is designated by any
  Successful Bidder as a Desired 365 Contract and shall be forever barred from asserting any
  objection with regard to such assumption, assignment and sale, except with respect to the
  adequate assurance of future performance by any Successful Bidder. Any objections to any
  Successful Bidder’s proposed form of adequate assurance of future performance must be filed
  with the Court by April 22, 2020 and will be resolved at the Assumption/Assignment Hearing.
  The Cure Costs provided to the contract counterparty shall be controlling, notwithstanding
  anything to the contrary in any 365 Contract, or any other document, and the counterparty to the
  365 Contract shall be deemed to have consented to the Cure Costs and shall be forever barred
  from asserting any other claims related to such 365 Contract against the Debtors or the
  Successful Bidder, or the property of any of them.




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  PLEASE TAKE FURTHER NOTICE that within one (1) business day after the conclusion of
  the Auction, the Debtors will file the Successful Bidder’s proposed form of adequate assurance
  of future performance with the Bankruptcy Court. Objections to the successful bidder’s adequate
  assurance of future performance must be raised no later than April 22, 2020.

  PLEASE TAKE FURTHER NOTICE that although the Debtors have made a good faith effort
  to identify all 365 Contracts that may be susceptible to being assumed and assigned in
  connection with the Sale Transaction, they may discover additional contracts that the Debtors
  and the Successful Bidder desire to assume and assign in connection therewith. Accordingly, if at
  any time after the entry of the Sale Order, the Debtors identify additional prepetition executory
  contracts that may be subject to being assumed and assigned to the Successful Bidder(s), the
  Debtors shall serve a supplemental notice of assumption and assignment (the “Supplemental
  Assumption and Assignment Notice”) by facsimile, electronic transmission, hand delivery or
  overnight mail on (i) the counterparty to each supplemental 365 Contract at the last known
  address available to the Debtors and ii) all parties who have requested notice in these Cases
  pursuant to Bankruptcy Rule 2002 by no later than ten (10) days before the proposed effective
  date of the assignment. Each such Supplemental Assumption and Assignment Notice shall set
  forth (i) the name and address of the contract counterparty, (ii) notice of the proposed effective
  date of the assignment (subject to the right of Successful Bidder to withdraw such request for
  assumption and assignment of the contract prior to the Closing), (iii) identification of the
  Contract, (iv) the Cure Costs, if any, to the extent such 365 Contract has been designated for
  assumption and assignment by a Successful Bidder, and (v) the proposed adequate assurance.

  PLEASE TAKE FURTHER NOTICE that this Notice of Assumption and Assignment is
  subject to the fuller terms and conditions of the Sale Procedures Order, with such Sale
  Procedures Order controlling in the event of any conflict, and the Debtors encourage parties-in-
  interest to review such documents in their entirety. Parties with questions regarding the proposed
  assumption, assignment, and sale procedures contained herein should contact the Debtors’
  counsel at the contact information provided below. The inclusion of a 365 Contract on Exhibit 1
  does not mean that such 365 Contract will be assumed or assigned in connection with the Sale
  Transaction or that the Debtors or any Successful Bidder will make any cure payment in
  connection with such 365 Contract.




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                                        Respectfully submitted,

                                        PULMAN, CAPPUCCIO & PULLEN, LLP
                                        2161 NW Military Highway, Suite 400
                                        San Antonio, Texas 78213
                                        www.pulmanlaw.com
                                        (210) 222-9494 Telephone
                                        (210) 892-1610 Facsimile

                                        By: /s/ Thomas Rice
                                            Randall A. Pulman
                                            Texas State Bar No. 16393250
                                            rpulman@pulmanlaw.com
                                            Thomas Rice
                                            Texas State Bar No. 24025613
                                            trice@pulmanlaw.com
                                            Amber F. Fly
                                            Texas State Bar No. 24101761
                                            afly@pulmanlaw.com


                                        ATTORNEYS    FOR   DEBTORS   AND   DEBTORS-IN-
                                        POSSESSION




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                         Exhibit 1
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                             List to be Provided
